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7
                                   UNITED STATES DISTRICT COURT
8
                                  CENTRAL DISTRICT OF CALIFORNIA
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10
     AERIAL WEST, LLC,                             )   Case No.: LA CV18-02288 JAK (SSx)
11                                                 )
                           Plaintiff(s),           )   STANDING ORDERS FOR CIVIL CASES
12                                                 )   ASSIGNED TO JUDGE JOHN A.
                                                   )   KRONSTADT
13   vs.                                           )
                                                   )
14   DRONE WORLD, LLC, et al.,                     )
                                                   )
15                         Defendant(s).           )
                                                   )
16                                                 )
                                                   )
17                                                 )
                                                   )
18

19
            This Order incorporates the Court’s:
20
            1. Initial Standing Order for Civil Cases Assigned to Judge John A. Kronstadt (Exhibit A);
21
            2. Initial Standing Order for Patent Cases Assigned to Judge John A. Kronstadt (Exhibit
22
     B);
23

24          3. Order Setting Rule 16(b)/26(f) Scheduling Conference (Exhibit C);

25          4. Schedule A: Schedule of Pretrial and Trial Dates re Order Setting Rule 16(b)/26(f)

26   Scheduling Conference for Civil Cases, Patent Cases and ERISA Cases (Exhibit C-1);

27          5. Order Re Jury/Court Trial for Cases Assigned to Judge John A. Kronstadt (Exhibit D);
28
            6. Standing Protective Order for Cases Assigned to Judge John A. Kronstadt (Exhibit E);

                                                        1
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1
            7. Format for Evidentiary Objections (Exhibit F); and
2
            8. Format for Summary Chart for Motions for Attorney’s Fees (Exhibit G). Please read
3
     each Order carefully as they differ in some respects from the Local Rules.
4

5           Counsel are advised that the Court, at any time, may amend one or more of its Standing

6    Orders. It is the responsibility of counsel to refer to this Court’s Procedures and Schedules

7    found on the website for the United States District Court, Central District of California
8    (www.cacd.uscourts.gov) to obtain the operative order.
9
            The Court thanks the parties and their counsel for their anticipated cooperation in
10
     carrying out these requirements.
11

12
     Dated: March 22, 2018
13

14

15
                                                       JOHN A. KRONSTADT
16                                                     UNITED STATES DISTRICT COURT
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1
                                          EXHIBIT A
2
             INITIAL STANDING ORDER FOR CIVIL CASES ASSIGNED TO JUDGE JOHN A.
3                                    KRONSTADT
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                                    UNITED STATES DISTRICT COURT
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10                                 CENTRAL DISTRICT OF CALIFORNIA

11
     Plaintiff’s Name(s),                              )   Case No.: _____________ JAK ( x)
12                                                     )
                            Plaintiff(s),              )   INITIAL STANDING ORDER FOR CIVIL
13   vs.                                               )   CASES ASSIGNED TO JUDGE JOHN A.
                                                       )   KRONSTADT
14
     Defendant’s Name(s),                              )
15                                                     )
                            Defendant(s).              )
16                                                     )
                                                       )
17

18
     This case has been assigned to the calendar of Judge John A. Kronstadt. Both the Court and
19
     counsel bear responsibility for the progress of this litigation in federal court. To “secure the just,
20
     speedy, and inexpensive determination” of this case, as called for in Fed. R. Civ. P. 1, all parties
21
     or their counsel are ordered to become familiar with the Federal Rules of Civil Procedure, the
22
     Local Rules of the Central District of California, and this Court’s Standing Orders.
23

24   THE COURT ORDERS AS FOLLOWS:

25   1.     Service of the Complaint

26          The plaintiff shall promptly serve the complaint in accordance with Fed. R. Civ. P. 4 and
27   file the proofs of service using the Court’s Civil Form CV-001 pursuant to Local Rule 5-3.
28
     Although Fed. R. Civ. P. 4(m) does not require the summons and complaint to be served for 90
                                                            4
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1
     days, the Court expects service as soon as service can reasonably be accomplished. The Court
2
     will require plaintiff to show good cause to extend the service deadline beyond 90 days.
3
     2.     Presence of Lead Counsel
4

5           Lead trial counsel shall attend any scheduling, pretrial, or settlement conference set by

6    the Court unless engaged in trial. Should that occur, counsel are to file a request for alternate or

7    co-counsel to appear with a proposed order. The Court does not permit special appearances;
8    only counsel of record may appear at any proceeding.
9
     3.     Ex Parte Applications
10
            Ex parte applications are solely for extraordinary relief and should be used with
11
     discretion. See Mission Power Eng’g Co. v. Cont’l Cas. Co., 883 F. Supp. 488 (C.D. Cal. 1995).
12
     Ex parte applications that fail to conform to Local Rule 7-19, including a statement of opposing
13
     counsel’s position, will not be considered, except on a specific showing of good cause.
14

15   Concurrently with service of the ex parte papers by electronic service and telephonic notice,

16   counsel shall also serve the moving party by either facsimile, email, or personal service, and

17   give notice to the moving party that opposing papers must be filed no later than 24 hours (or
18
     one court day) following service. If counsel do not intend to oppose the ex parte application,
19
     counsel must inform the Courtroom Deputy Clerk by telephone as soon as possible.
20
     4.     Continuances or Extensions of Time
21
            This Court is very committed to adhering to all scheduled dates. In general, this makes
22
     the judicial process more efficient and less costly. Changes in dates are disfavored. Trial dates
23

24   set by the Court are firm and will rarely be changed. Therefore, any request, whether by

25   application or stipulation, to continue the date of any matter before this Court must be supported

26   by a sufficient basis that demonstrates good cause why the change in the date is essential.
27   Without such compelling factual support, requests to continue dates set by this Court will not be
28
     approved. Counsel requesting a continuance must electronically file any application or

                                                          5
     Case 2:18-cv-02288-JAK-SS Document 9 Filed 03/22/18 Page 6 of 83 Page ID #:50



1
     stipulation with a proposed order, including a detailed declaration of the grounds for the
2
     requested continuance or extension of time. The Court will not consider any request that does
3
     not comply with the Local Rules and this Order. Proposed stipulations extending scheduling
4

5    dates become effective only if, and when, this Court approves the stipulation as presented to, or

6    modified by, the Court, and an associated order is entered. Counsel should avoid submitting

7    requests for a continuance less than at least seven (7) calendar days prior to the scheduled
8    date that is the subject of the request.
9
     5.     TROs and Injunctions
10
            Parties seeking emergency or provisional relief shall comply with Fed. R. Civ. P. 65 and
11
     Local Rule 65-1. The application shall include a proof of service which complies with the Court’s
12
     requirements for ex parte applications or a separate request for service to be excused. The
13
     Court will not rule on any application for such relief for at least 24 hours after the party subject to
14

15   the requested order has been served, unless service is excused. On the day the documents are

16   e-filed, counsel shall contact the Courtroom Deputy Clerk and deliver a courtesy copy in Room

17   181-L of the Clerk’s Office.
18
     6.     Cases Removed from State Court
19
            All documents filed in state court, including documents appended to the complaint,
20
     answers, and motions, must be re-filed in this Court as a supplement to the notice of removal.
21
     See 28 U.S.C. § 1447(a) and (b). If the defendant has not yet answered or filed a motion in
22
     response to the complaint, the answer or responsive pleading filed in this Court must comply
23

24   with the Federal Rules of Civil Procedure and the Local Rules. If, before the case was removed,

25   a motion or demurrer in response to the complaint was pending in state court, it must be re-

26   noticed in this Court in accordance with Local Rule 6-1 and Local Rule 7. Counsel shall file with
27   their first appearance a Notice of Interested Parties in accordance with Local Rule 7.1-1.
28

                                                            6
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1
             If an action is removed to this Court that contains a form pleading, i.e., a pleading in
2
     which boxes are checked, the party or parties utilizing the form pleading must file an appropriate
3
     pleading with this Court within 30 days of receipt of the Notice of Removal. The appropriate
4

5    pleading referred to must comply with the requirements of Fed. R. Civ. P. 7, 7.1, 8, 9, 10 and

6    11.

7    7.      Status of Fictitiously Named Defendants
8            This Court intends to adhere to the following procedures where a matter is removed to
9
     this Court on diversity grounds with fictitiously named defendants. See 28 U.S.C. §§ 1441 and
10
     1447.
11
             a.     Plaintiff is expected to ascertain the identity of, and serve, any fictitiously named
12
     defendant, within 90 days of the removal of the action to this Court.
13
             b.     If plaintiff believes (by reason of the necessity for discovery or otherwise) that
14

15   fictitiously named defendants cannot be fully identified within the 90-day period, an ex parte

16   application requesting permission to extend that period to effectuate service may be filed with

17   this Court. Such an application shall state the specific reasons for the requested extension of
18
     time, including a description of all efforts made up to that time to identify and serve such
19
     person(s). The ex parte application shall be served upon all appearing parties, and shall state
20
     that appearing parties may file written comments within seven (7) days of the filing of the ex
21
     parte application.
22
             c.     If plaintiff wants to substitute a defendant for one of the fictitiously named
23

24   defendants, plaintiff shall first seek the consent of counsel for all defendants (and counsel for

25   the fictitiously named party, if that party has separate counsel). If consent is withheld or denied,

26   plaintiff should file a motion on regular notice. The motion and opposition should address
27   whether the matter should thereafter be remanded to the Superior Court if complete diversity of
28

                                                           7
     Case 2:18-cv-02288-JAK-SS Document 9 Filed 03/22/18 Page 8 of 83 Page ID #:52



1
     citizenship would no longer be present as a result of the addition of the new party. See U.S.C. §
2
     1447(c) and (d).
3
     8.     Discovery
4

5           a.      Discovery Matters Referred to Magistrate Judge

6           All discovery matters, including all discovery motions, are referred to the assigned

7    United States Magistrate Judge. The Magistrate Judge’s initials follow the District Judge’s
8    initials next to the case number on this Order. All discovery-related documents must include the
9
     words “DISCOVERY MATTER” in the caption to ensure proper routing. Counsel are directed to
10
     contact the Magistrate Judge’s Courtroom Deputy Clerk to schedule matters for hearing. Please
11
     deliver mandatory chambers’ copies of discovery-related papers to the Magistrate Judge
12
     assigned to this case rather than to this Court.
13
            In accordance with 28 U.S.C. § 636(b)(1)(A), the Court will not reverse any order of the
14

15   Magistrate Judge unless it has been shown that the Magistrate Judge’s order is clearly

16   erroneous or contrary to law.

17          Any party may file and serve a motion for review and reconsideration before this Court.
18
     See Local Rule 7-18. The moving party must file and serve the motion within 14 days of service
19
     of a written ruling or within 14 days of an oral ruling that the Magistrate Judge states will not be
20
     followed by a written ruling. The motion must specify which portions of the ruling are clearly
21
     erroneous or contrary to law and support the contention with points and authorities. Counsel
22
     shall deliver a conformed copy of the moving papers and responses to the Magistrate Judge’s
23

24   Courtroom Deputy Clerk at the time of filing.

25          b.      Compliance with Fed. R. Civ. P. 26(a)

26          Unless there is a likelihood that, upon motion by a party, the Court would order that any
27   or all discovery is premature, counsel should begin to conduct discovery actively before the
28
     Scheduling Conference. Discovery is not stayed prior to the Scheduling Conference or after

                                                           8
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1
     dates have been set unless otherwise ordered by the Court. At the very least, the parties shall
2
     comply fully with the letter and spirit of Fed. R. Civ. P. 26(a) and thereby obtain and produce
3
     most of what would be produced in the early stage of discovery, because at the Scheduling
4

5    Conference the Court will impose firm deadlines to complete discovery

6    9.       Motions

7            a.      Time for Filing and Hearing Motions
8            Motions shall be filed in accordance with Local Rule 6-1 and Local Rule 7. In general,
9
     this Court hears motions on Mondays, beginning at 8:30 a.m. If Monday is a national holiday,
10
     motions will be heard on the following Monday. It is not necessary to clear a hearing date with
11
     the Courtroom Deputy Clerk prior to the filing of a motion, but counsel shall review the Court’s
12
     Closed Motion Dates prior to selecting a date. Motion dates are closed when the Court’s
13
     calendar is full and, therefore, counsel shall not assume that a motion date(s) is available.
14

15           The Court does not require a proposed order to be e-filed with any motion unless

16   otherwise directed by the Court. A separate order will issue.

17           b.      Briefing Motions
18
             Any motion that is filed and set for a hearing to be held fewer than 35 days from the date
19
     of the filing of the motion shall be briefed pursuant to Local Rule 6-1 and Local Rule 7.
20
     Otherwise, motions shall be briefed according to the following schedule:
21
             (a). Any motion that is filed and set for a hearing between 35 and 70 days from the date
22
     of the filing of the motion: (i) any opposition must be filed no later than 14 days after the filing of
23

24   the motion; and (ii) any reply must be filed no later than 21 days after the filing of the motion.

25           (b). Any motion that is filed and set for a hearing more than 70 days from the date of the

26   filing of the motion: (i) any opposition must be filed no later than 21 days after the filing of the
27   motion; and (ii) any reply must be filed no later than 35 days after the filing of the motion.
28

                                                            9
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1
            The Court will permit the parties to stipulate, without a court order, to a briefing schedule
2
     for any motion that is set for a hearing to be held more than 70 days from the date it was filed so
3
     long as the reply is filed no later than five (5) weeks prior to the hearing date. A stipulation
4

5    regarding the agreed-upon briefing schedule shall be filed with the Court within seven (7)

6    calendar days of the date the motion is filed. The stipulation shall include in the caption

7    “STIPULATED PER STANDING ORDER.”
8           c.         Pre-Filing Requirement To Meet and Confer
9
            Counsel must comply with Local Rule 7-3, which requires counsel to engage in a pre-
10
     filing conference “to discuss thoroughly . . . the substance of the contemplated motion and any
11
     potential resolution.” Counsel should discuss the issues to a sufficient degree that if a motion is
12
     still necessary, the briefing may be directed to those substantive issues requiring resolution by
13
     the Court. Counsel should resolve minor procedural or other non-substantive matters during the
14

15   conference. The in propria persona status of one or more parties does not alter this

16   requirement.

17          d.         Length and Format of Motion Papers
18
            Memoranda of points and authorities shall not exceed 25 pages and all footnotes shall
19
     be in the same type size pursuant to Local Rule 11-3. Oppositions shall not exceed 25 pages
20
     and any reply shall not exceed 10 pages. All motion papers shall be filed pursuant to Local Rule
21
     11-6 and Local Rule 11-3. Only in rare instances and for good cause shown will the Court grant
22
     an application to extend these page limitations. No supplemental brief shall be filed without prior
23

24   leave of Court.

25          If documentary evidence in support of or in opposition to a motion exceeds 50 pages,

26   the documents shall be placed in a binder, with an index and with each item of evidence
27   separated by a tab divider. If such evidence exceeds 200 pages, the documents shall be placed
28

                                                           10
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1
     in a Slant D-Ring binder, with an index and with each item of evidence separated by a tab
2
     divider.
3
                Counsel shall adhere to Local Rule 5-4.3.1 with respect to the conversion of all
4

5    documents to a PDF so that when a document is e-filed, it is in the proper size and format that

6    is PDF searchable. Further, all documents shall be filed in a format so that text can be selected,

7    copied and pasted directly from the document.
8               e.     Mandatory Chambers’ Copies
9
                Mandatory chambers’ copies are to be submitted pursuant to Local Rule 5-4.5. The
10
     Court requires copies of only: (i) initial pleadings (complaints, counterclaims, cross-claims), (ii)
11
     Joint Rule 16(b)/26(f) reports with schedule of pretrial and trial dates, (iii) motion papers
12
     (motions, oppositions, replies, non-oppositions, and any document relating to such), (iv) trial
13
     documents (joint statement of the case, proposed voir dire, jury instructions, verdict form, joint
14

15   exhibit list, joint witness list, and any disputes relating to such), (v) ex parte applications relating

16   to a temporary restraining order, and (vi) presentation materials for patent cases. Mandatory

17   chambers’ copies must be delivered to the Clerk's Office, Room 181-L, no later than 12:00 P.M.
18
     on the day following the filing of the document, with the exception of a document(s) relating to a
19
     temporary restraining order, which is to be submitted the day it is filed. See infra, 11, p. 18.
20
                Mandatory chambers’ copies must be printed from CM/ECF, and must include the
21
     CM/ECF-generated header (consisting of the case number, document control number, date of
22
     filing, page number, etc.). Any stapling or binding should not obscure the CM/ECF-generated
23

24   header. The Court prefers that chambers’ copies not be two-hole punched or blue-backed;

25   when possible, staple each copy only in the upper left hand corner.

26              f.     Citations to Case Law
27              Citations to case law must identify not only the case cited, but the specific page
28
     referenced. For example, if a quotation is presented, the associated page citation shall be

                                                             11
     Case 2:18-cv-02288-JAK-SS Document 9 Filed 03/22/18 Page 12 of 83 Page ID #:56



1
     provided. Similarly, if a case is cited in support of a proposition based on language in the
2
     opinion, the page(s) on which such language appears shall be provided. Bluebook style is
3
     preferred.
4

5           g.      Citations to Other Sources

6           Statutory references should identify with specificity the sections and subsections

7    referenced. Citations to treatises, manuals, and other materials should include the volume,
8    section, and pages that are referenced. Citations to prior filings in the same matter shall include
9
     the docket entry number, section and pages that are referenced. Bluebook style is preferred.
10
            h.      Oral Argument
11
            If the Court deems a matter appropriate for decision without oral argument, the Court will
12
     notify the parties in advance. Local Rule 7-15.
13
     10.      Specific Motions
14

15          a.      Motions Pursuant to Rule 12

16          Many motions to dismiss or to strike can be avoided if the parties confer in good faith (as

17   required by Local Rule 7-3), especially where perceived defects in a complaint, answer, or
18
     counterclaim could be corrected by amendment. See Chang v. Chen, 80 F.3d 1293, 1296 (9th
19
     Cir. 1996) (where a motion to dismiss is granted, a district court should provide leave to amend
20
     unless it is clear that the complaint could not be saved by any amendment). These principles
21
     require that plaintiff’s counsel carefully evaluate defendant’s contentions as to the deficiencies in
22
     the complaint. In most instances, the moving party should agree to any amendment that would
23

24   cure the defect.

25          If a motion to dismiss is granted with leave to amend, counsel shall attach as an

26   appendix to an amended pleading a “redline” version of the amended pleading showing all
27   additions and deletions of material.
28

                                                          12
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1
            b.      Motions to Amend
2
            All motions to amend pleadings shall: (1) state the effect of the amendment and (2)
3
     identify the page and line number(s) and wording of any proposed change or addition of
4

5    material. The proposed amended pleading shall be serially numbered to differentiate it from

6    previously amended pleadings.

7           In addition to the requirements of Local Rule 15, counsel shall attach as an appendix to
8    the moving papers a “redline” version of the proposed amended pleading showing all additions
9
     and deletions of material.
10
            c.      Summary Judgment Motions
11
            Parties need not wait until the motion cut-off date to bring motions for summary
12
     judgment or partial summary judgment. Whenever possible, the party moving for summary
13
     judgment should provide more than the minimum twenty-eight (28) day notice for motions. See
14

15   Local Rule 6-1. The parties should prepare papers in a fashion that will assist the Court in

16   locating the evidence with respect to the facts (e.g., generous use of tabs, tables of contents,

17   headings, indices, etc.). The parties are to comply precisely with Local Rule 56.
18
                    i.      Statements of Uncontroverted Facts and Genuine Issues
19
            The Statement of Uncontroverted Facts and Conclusions of Law ("Statement of
20
     Uncontroverted Facts"), as required by Local Rule 56-1, shall be separately lodged and identify
21
     each claim for relief on which the moving party seeks summary judgment and the legal grounds
22
     for summary judgment. In a two-column format beneath the identified claim for relief, the left-
23

24   hand column shall set forth, sequentially numbered, each allegedly uncontroverted material fact

25   as to that claim for relief, and the right-hand column shall set forth the evidence that supports

26   the factual statement. Citation to the supporting evidence shall be specific, including reference
27   to the docket number, exhibit, page and line number. The Statement of Uncontroverted Facts
28
     shall be formatted based on the following examples:

                                                          13
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1
     Plaintiff's Claim for Relief for _________ is Barred by the Applicable Statute of
2
     Limitations. (Cite)
3
      1. (Moving party's first undisputed fact)             (Supporting evidence citation, e.g., Dkt. 50,
4

5                                                           Exh. 5 at 7:3-5)

6     2. (Moving party's second undisputed fact)            (Supporting evidence citation, e.g., Dkt.

7                                                           51-5, Exh. 5 at 8:4-5)
8
            Chambers’ copies of the Statement of Uncontroverted Facts and Conclusions of Law
9
     shall be submitted in a binder, which is separated from the evidence in support of a motion for
10
     summary judgment. Counsel shall include tab dividers which separate the statements of
11
     uncontroverted facts in support of each claim for relief.
12
            The opposing party’s Statement of Genuine Disputes of Material Fact must be in two
13

14   columns and track the movant’s separate statement exactly as prepared. The left-hand column

15   must restate the allegedly undisputed fact and the alleged supporting evidence, and the right-

16   hand column must state either that it is undisputed or disputed. The opposing party may dispute
17   all or only a portion of the statement, but if disputing only a portion, such party must clearly
18
     indicate what part is being disputed, followed by the opposing party’s evidence controverting the
19
     fact. To demonstrate that a fact is disputed, the opposing party must briefly state why it disputes
20
     the moving party’s asserted fact, cite to the relevant exhibit or other evidence, and describe
21
     what it is in that exhibit or evidence that refutes the asserted fact. No legal argument should be
22

23   set forth in this document.

24          Chambers’ copies of the opposing party’s Statement of Genuine Disputes must also be

25   submitted in a binder, which is separated from the evidence in opposition to a motion for

26   summary judgment. Counsel shall include tab dividers which separate the Statement of
27
     Genuine Disputes as to each claim for relief.
28

                                                           14
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1
            The opposing party may submit additional material facts that bear on, or relate to, the
2
     issues raised by the movant, which shall follow the format described above for the moving
3
     party’s separate statement. These additional facts shall continue in sequentially numbered
4

5    paragraphs and shall set forth in the right-hand column the evidence that supports that

6    statement. Additional material facts shall be filed in a separate document from the Statement of

7    Genuine Disputes. Chambers’ copies of the opposing party’s additional material facts must be
8    filed in a separate binder from the Statement of Genuine Disputes. Counsel shall include tab
9
     dividers which separate the additional material facts as to each claim for relief.
10
                    ii.     Supporting Evidence
11
            No party shall submit evidence other than the specific items of evidence or testimony
12
     necessary to support or controvert a proposed statement of undisputed fact. For example, entire
13
     deposition transcripts, entire sets of interrogatory responses, and documents that do not
14

15   specifically support or controvert material in the separate statement shall not be submitted in

16   support of or opposition to a motion for summary judgment.

17          Evidence submitted in support of or in opposition to a motion should be submitted either
18
     by way of stipulation or as exhibits to declarations sufficient to authenticate the proffered
19
     evidence, and should not be attached to the memorandum of points and authorities.
20
     Documentary evidence as to which there is no stipulation regarding foundation must be
21
     accompanied by the testimony, either by declaration or properly authenticated deposition
22
     transcript, of a witness who can establish authenticity.
23

24          The parties shall ensure that electronically filed copies of evidence in support of or

25   opposition to a motion for summary judgment are in the proper format. Thus, all documents

26   must be PDF searchable and have selectable text that may be copied and pasted directly from
27   the filed document. All chambers’ copies shall be filed in accordance with ¶ 9(d) of this Order.
28
     All chambers’ copies and electronically filed documents must include the CM/ECF-generated

                                                          15
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1
     header (consisting of the case number, document control number, date of filing, page number,
2
     etc.).
3
              Additionally, testimony cited in a statement of uncontroverted facts, statement of genuine
4

5    material facts, or additional material facts shall be highlighted and/or underlined in both the

6    electronically filed copy on CM/ECF and in the chambers’ copies.

7                     iii.   Objections to Evidence
8             Evidentiary objections to a declaration submitted in connection with a motion or other
9
     matter shall be made in writing and served and e-filed at the same time as, but separately from,
10
     the opposition or reply papers. If a party disputes a fact based in whole or in part on an
11
     evidentiary objection, the ground of the objection should be succinctly stated in a separate
12
     statement of evidentiary objections in a three-column format:
13
                             a. The left column should include the entire declaration or deposition,
14

15   which shall include the highlighted, underlined, and/or bracketed portions that are being

16   objected to (including page and line number if applicable). Each objection shall be numbered

17   and located within the copy of the declaration.
18
                             b. The middle column should set forth a concise objection (e.g., hearsay,
19
     lacks foundation, etc.) with a citation to the Federal Rules of Evidence or, where applicable, a
20
     case citation.
21
                             c. The right column should provide space for the Court’s entry of its ruling
22
     on the objection.
23

24                           d. A proposed order shall be filed and attached to the evidentiary

25   objections as a separate document consistent with Local Rule 52-4.1 and either uploaded

26   through the CM/ECF System or emailed directly to the Court’s Chambers’ email at:
27   jak_chambers@cacd.uscourts.gov.
28

                                                          16
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1
              See Exhibit F to this Order. Counsel shall adhere to this format for any evidentiary
2
     objections that are submitted to the Court for consideration.
3
              d.     Motions in Limine
4

5             Motions in limine are heard at the date and time of the Final Pretrial Conference and

6    shall be e-filed fourteen (14) calendar days before the Final Pretrial Conference. The motions

7    shall be prepared and filed consistent with Local Rule 6-1 and shall be numbered sequentially
8    by each party who presents them. The supporting memorandum shall not exceed ten (10)
9
     pages. Any opposition(s) shall be e-filed seven (7) days before the Final Pretrial Conference
10
     and shall not exceed 10 pages. The Court will permit oral argument on motions in limine and,
11
     therefore, a reply is not required. The Court hears all motions in limine, which shall be
12
     numbered sequentially by each party who presents them, at the time of the Final Pretrial
13
     Conference.
14

15            e.     Motions for Attorney's Fees

16            Motions for attorney’s fees shall be e-filed and set for hearing according to Local Rule 6-

17   1. Any motion or request for attorney’s fees shall attach two summaries, in table form, of the
18
     hours worked by and billing rate of each attorney with title (i.e., partner, local counsel, associate,
19
     etc.).
20
              The first table shall include a summary of the hours worked by each attorney, organized
21
     by task (i.e., discovery, motion to dismiss, motion for summary judgment). If the hourly rate
22
     charged by any individual attorney changed while the case was ongoing, the party shall provide
23

24   separate calculations for the total number of hours that the attorney spent in connection with

25   each task at each hourly rate.

26            The second table shall include a summary of the hours worked by each attorney,
27   organized by attorney. This table shall list all of the tasks on which the attorney worked, the
28
     hours worked on each task, and the hourly rate of each attorney.

                                                           17
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1
            Any table as set forth above shall be attached to the motion and electronically filed. A
2
     separate editable, electronic courtesy copy of the table only shall be emailed to the Court’s
3
     Chambers’ email at: jak_chambers@cacd.uscourts.gov formatted for use with Microsoft Excel.
4

5    See Exh. G.

6                   i.      Motions for Preliminary and Final Approval of Class Action

7                           Settlement
8           Parties submitting a motion for preliminary or final approval of a class settlement shall
9
     include a spreadsheet supporting any proposed award of attorney’s fees. The spreadsheet shall
10
     include an estimate of any future attorney’s fees for which compensation will be sought, the
11
     normal hourly rate of all counsel for whom entries appear on the spreadsheet, the support for
12
     such hourly rate(s), and an explanation of the basis of any service enhancement award for lead
13
     plaintiff(s), including the hours worked and activities performed by such lead plaintiff(s). An
14

15   editable, electronic courtesy copy shall be emailed to the Court’s Chambers’ email at:

16   jak_chambers@cacd.uscourts.gov formatted for use with Microsoft Excel. See Exh. G.

17   11.    Under Seal Documents
18
            Counsel shall comply with Local Rule 79-5. All applications must provide the reason(s)
19
     why the parties’ interest in maintaining the confidentiality of the document(s) outweighs the
20
     public’s right of access to materials submitted in connection with a judicial proceeding. Counsel
21
     are ordered to meet and confer in person or by telephone at least seven (7) calendar days prior
22
     to the filing of an application in which the basis for the requested sealing is stated to determine if
23

24   they can agree on the proposed under seal filing. Not later than two (2) calendar days after the

25   meet and confer process has concluded, the non-proposing party shall confirm whether it

26   agrees to having such information designated as confidential or whether it opposes an under
27   seal filing. Any application for under seal filing, whether or not opposed, shall contain the dates
28
     and method by which the parties met and conferred. If such information is not provided, the

                                                           18
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1
     application will be denied without prejudice to an amended application being filed that complies
2
     with the foregoing terms.
3
            1.        The application for leave to file under seal shall be filed on the public docket
4

5                     and shall attach a proposed order pursuant to Local Rule 5-4.4.1and Local

6                     Rule 5-4.4.2. Any declaration that supports the application shall also be

7                     attached to the application unless it contains confidential information. The
8                     declaration shall be filed under seal as its own docket entry if it contains
9
                      confidential information.
10
            2.        Counsel shall file the confidential or privileged document(s) under seal, which
11
                      shall have a title/caption page pursuant to Local Rule 11-3.8. Any sealed
12
                      document must clearly mark the information that is confidential or privileged
13
                      via highlighting in color and/or using brackets.
14

15          3.        Counsel shall make every effort to file a redacted version of all sealed

16                    documents. The docket number shall be referenced in the application. If a

17                    redacted version is not filed, counsel shall explain the reason in either the
18
                      application or supporting declaration.
19
            4.        Sealed documents shall have their own docket entry and shall not be attached
20
                      to the application.
21
            5.        The Court will review the submitted documents and make a determination as
22
                      to whether the documents will remain under seal, made available on the public
23

24                    docket, and/or whether a redacted version is to be filed.

25          6.        A courtesy copy shall be delivered of the sealed document only.

26

27

28

                                                         19
     Case 2:18-cv-02288-JAK-SS Document 9 Filed 03/22/18 Page 20 of 83 Page ID #:64



1
     12.     Initial Pleadings
2
             Counsel shall comply with Local Rule 3 when filing initial pleadings. All initiating
3
     pleadings, including third-party complaints, amended complaints, complaints in intervention,
4

5    counterclaims and cross claims, shall be filed as a separate document.

6    13.     Amended Pleadings

7            Every amended pleading shall be serially numbered to differentiate the pleading from
8    prior pleadings. Counsel shall attach as an appendix to all amended pleadings a “redline”
9
     version of the amended pleading showing all additions and deletions of material from the most
10
     recent prior pleading.
11
     14.     Pro Se/Self-Represented Parties
12
             Pro se/Self-represented parties may continue to present all documents to the Clerk for
13
     filing in paper format pursuant to Local Rule 5-4.2. However, the Court will also permit self-
14

15   represented parties to present all documents to the Clerk for filing by email so long as they

16   comply with the following requirements:

17           (a)     The document shall be prepared so that it complies with the requirements set
18
     forth in Local Rule 11-3, i.e., legibility, font, paper, pagination, spacing, title page, page limits,
19
     etc. Additionally, the document shall also comply with any requirements specific to the type of
20
     document that is being submitted for filing, i.e., motions need to also adhere to Local Rules 6-1
21
     and 7 as set forth in ¶ 9 of this Order.
22
             (b)     The document shall be emailed as a PDF document to the Chambers’ email:
23

24   jak_chambers@cacd.uscourts.gov no later than the date it is due. The Court will deem the date

25   the document is emailed as the filed or lodged date. The proceeding line of the email shall

26   contain: (i) the case number; (ii) case name; and (iii) “Pro Se Filing” to ensure it will be
27   filed/lodged properly.
28

                                                             20
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1
            (c)      The Chambers’ email will be used solely to accept documents for filing. The
2
     Chambers’ email is not to be used in any way to communicate with the Judge or Clerk. All
3
     parties, including Pro se/Self-represented parties, shall refrain from writing letters to the Court,
4

5    sending e-mail messages, making telephone calls to chambers or otherwise communicating

6    with the Court unless opposing counsel is present. All matters must be called to the Court’s

7    attention by appropriate application or motion pursuant to Local Rule 83-3.
8           (d)      A courtesy copy of the document shall be mailed to the Court no later than 12:00
9
     p.m. on the day following the date it was emailed as set forth in ¶ 9(e) of this Order.
10
            (e)      It is the Court’s expectation that Pro se/Self-represented parties are to comply
11
     with the Local Rules and the rules set by this Court. The Court has a Pro Se Clinic available to
12
     assist those persons who do not have an attorney to represent them. Clinics are located in Los
13
     Angeles, Riverside and Santa Ana. More information can be obtained on the Court’s website
14

15   located at http://www.cand.uscourts.gov/proselitigants.

16   15.        Notice of This Order/E-Filed Documents

17          Plaintiff’s counsel or plaintiff (if appearing on his or her own behalf) shall immediately
18
     serve this Order on all parties, including any new parties to the action. If this case came to the
19
     Court by a Petition for Removal, the removing defendant(s) shall serve this Order on all other
20
     parties.
21
            Any document that is e-filed shall be served by mail that same day on any party or
22
     attorney who is not permitted or has not consented to electronic service, with a proof of service
23

24   to be filed within 24 hours.

25
     IT IS SO ORDERED.
26
                                                            _________________________________
27                                                          JOHN A. KRONSTADT
                                                            UNITED STATES DISTRICT JUDGE
28

                                                           21
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1
                                       EXHIBIT B
2
         INITIAL STANDING ORDER FOR PATENT CASES ASSIGNED TO JUDGE JOHN A.
3                                    KRONSTADT
4

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8                                   UNITED STATES DISTRICT COURT
9
                                   CENTRAL DISTRICT OF CALIFORNIA
10

11   Plaintiff’s Name(s),                            )   Case No.: _____________ JAK ( x)
                                                     )
12                          Plaintiff(s),            )   INITIAL PATENT ORDER FOR CASES
     vs.                                             )   ASSIGNED TO JUDGE JOHN A.
13                                                   )   KRONSTADT
     Defendant’s Name(s),                            )
14
                                                     )
15                          Defendant(s).            )
                                                     )
16                                                   )

17   These Standing Patent Rules are based on the Standing Patent Rules issued by Judge Andrew
18
     J. Guilford in September 2013, which were based largely on information obtained from over 100
19
     patent practitioners and professors, a review of all the other local patent rules and a review of
20
     related literature. The rules were drafted to respond to the needs of this community and to
21
     reduce transaction costs and increase procedural predictability. Two central goals were that the
22
     rules be outcome neutral and as concise as possible.
23

24   1.     GENERAL PROVISIONS

25   1.1    Title

26   These are the Standing Patent Rules for cases assigned to Judge John A. Kronstadt. They
27   should be cited as “S.P.R. ___.”
28

                                                          23
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1
     1.2    Effective Date
2
     These Standing Patent Rules take effect on April 1, 2014, and apply in cases filed on or after
3
     that date. The Court may order that they also apply, with appropriate modification, to cases filed
4

5    before that date.

6    1.3    Scope and Construction

7    These rules apply to all cases involving a claim of infringement, non-infringement, invalidity or
8    unenforceability of a utility patent. The Local Rules of this District shall also apply to such
9
     actions, except to the extent that they are inconsistent with these Standing Patent Rules. The
10
     Court will consider requests to opt out of these Standing Patent Rules, particularly when all
11
     parties agree the case involves damages or other claims of less than $2 million.
12
      1.4   Modification of These Rules
13
     The Court may modify or suspend these rules at any time. The Court will consider modifications
14

15   to these rules suggested by the parties based on the circumstances of any particular case. Such

16   party-suggested modifications shall, in most cases, be made at the scheduling conference, but

17   may be made at other times upon a showing of good cause.
18
     1.5    Confidentiality
19
     Absent a Court order, discovery cannot be withheld on the basis of confidentiality. The Court’s
20
     Standing Protective Order shall govern discovery unless the Court enters a different protective
21
     order, which may be entered by the assigned Magistrate Judge without further order from the
22
     District Judge.
23

24   1.6    Relationship to the Federal Rules of Civil Procedure

25   Except as provided in this paragraph or otherwise ordered, it shall not be a ground for objecting

26   to discovery requests (such as interrogatories, document requests, requests for admission or
27   deposition questions), or declining to provide information otherwise required by Fed. R. Civ. P.
28
     26(a)(1), that the discovery request or disclosure requirement is premature due to, or otherwise

                                                           24
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1
     conflicts with, these Standing Patent Rules. But a party may object to the following categories of
2
     discovery requests (or decline to provide information in its initial disclosures under Fed. R. Civ.
3
     P. 26(a)(1)) on the ground of prematurity under these Standing Patent Rules: (1) requests
4

5    seeking a party’s claim construction position; (2) requests seeking from the patent claimant a

6    comparison of the asserted claims and the accused apparatus, product, device, process,

7    method, act or other instrumentality (collectively “Accused Instrumentality”); (3) requests
8    seeking from an accused infringer a comparison of the asserted claims and the prior art; (4)
9
     requests seeking from an accused infringer the identification of any advice of counsel or related
10
     documents.
11
     2.     PATENT DISCLOSURES, EARLY MEETING OF THE PARTIES, AND SCHEDULING
12
            CONFERENCE
13
     2.1    Disclosure of Asserted Claims and Infringement Contentions
14

15   No later than 14 days after the Court issues an order setting a scheduling conference, a party

16   asserting patent infringement shall serve on all parties a Disclosure of Asserted Claims and

17   Infringement Contentions. Separately for each opposing party, the Disclosure of Asserted
18
     Claims and Infringement Contentions shall contain the following information as described in
19
     S.P.R. 2.1.1 through 2.1.6.
20
            2.1.1   Each claim of each patent in suit that is allegedly infringed by each opposing
21
            party, including for each claim the applicable statutory subsections of 35 U.S.C. § 271
22
            asserted.
23

24          2.1.2   Separately for each asserted claim, each Accused Instrumentality. This

25          identification shall be as specific as reasonably possible.

26          2.1.3   A chart identifying specifically where each limitation of each asserted claim is
27          found within each Accused Instrumentality, including, for each limitation that such party
28
            contends is governed by 35 U.S.C. § 112(6)/(f), the identity of the structure(s), act(s), or

                                                          25
     Case 2:18-cv-02288-JAK-SS Document 9 Filed 03/22/18 Page 26 of 83 Page ID #:70



1
            material(s) in the Accused Instrumentality that performs the claimed function, and
2
            whether each limitation of each asserted claim is alleged to be literally present or
3
            present under the doctrine of equivalents in the Accused Instrumentality.
4

5           2.1.4   For any patent that claims priority to an earlier application, the priority date

6           allegedly applicable to each asserted claim.

7           2.1.5   If a party claiming patent infringement wishes to preserve the right to rely, for any
8           purpose, on the assertion that its own apparatus, product, device, process, method, act
9
            or other instrumentality practices the claimed invention, the party shall identify,
10
            separately for each asserted claim, each such apparatus, product, device, process,
11
            method, act or other instrumentality that incorporates or reflects that particular claim.
12
            2.1.6   If a party claiming patent infringement alleges willful infringement, the basis for
13
            such allegation.
14

15   2.2    Document Production Accompanying Disclosure

16   With the Disclosure of Asserted Claims and Infringement Contentions, the party claiming patent

17   infringement shall produce the following items described as set forth in S.P.R. 2.2.1 through
18
     2.2.3, identifying the documents corresponding to each category by production number.
19
            2.2.1   A copy of the file history for each patent in suit.
20
            2.2.2   All documents evidencing ownership of the patent rights by the party asserting
21
            patent infringement.
22
            2.2.3   If a party identifies instrumentalities under S.P.R. 2.1.5, documents sufficient to
23

24          show the operation of any aspects or elements of such instrumentalities the patent

25          claimant relies upon as embodying any asserted claims.

26   2.3    Early Meeting of Counsel
27   No later than 14 days after the service of the materials required by S.P.R. 2.1 and 2.2, counsel
28
     for the parties shall exchange Fed. R. Civ. P. 26(a)(1)(A) initial disclosures and meet in person

                                                           26
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1
     or telephonically to prepare for the scheduling conference and prepare the joint Fed. R. Civ. P.
2
     16(b)/26(f) report. Both sides have the duty to schedule the meeting and comply with this
3
     paragraph, with plaintiff initiating the process. The parties should consider, where applicable,
4

5    consolidation of related cases, including for trial, and transfer for pretrial purposes through the

6    Judicial Panel on Multidistrict Litigation. The parties should consider the Federal Circuit Advisory

7    Committee’s Model Order Limiting Excess Patent Claims and Prior Art. The parties should
8    discuss ADR timing, recognizing that settlement decisions, like other business decisions, are
9
     often made with incomplete information. Where necessary in multi-defendant cases and upon a
10
     showing of good cause, counsel may apply for a reasonable extension of time to hold the early
11
     meeting of counsel. The parties shall submit their joint Fed. R. Civ. P. Rule 16(b)/26(f) report no
12
     later than 14 days after the early meeting of counsel. See Exh. C-1.
13
     2.4      Scheduling Conference
14

15   A scheduling conference will be held on the date set by the Court. Usually, each side will have

16   the opportunity to present briefly any potentially dispositive issues it wishes to bring to the

17   Court’s attention and to discuss its position on disputed scheduling issues. The presentations
18
     are intended to allow the Court to make informed decisions on scheduling and potential
19
     modifications of these rules. At the scheduling conference, the Court will issue a scheduling
20
     order.
21
     2.5      Invalidity Contentions
22
     No later than 14 days after the scheduling conference, each party opposing a claim of patent
23

24   infringement shall serve on all parties Invalidity Contentions containing the following information

25   as described in S.P.R. 2.5.1 through 2.5.4.

26            2.5.1   The identity of each item of prior art that allegedly anticipates each asserted
27            claim or renders it obvious. Each prior art patent shall be identified by its number,
28
              country of origin and date of issue. Each prior art publication shall be identified by its

                                                            27
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1
            title, date of publication, author and publisher. Prior art under 35 U.S.C. § 102(b)/(a)
2
            shall be identified by specifying the item offered for sale or publicly used or known, the
3
            date the offer or use took place or the information became known, and the identity of the
4

5           person or entity which made the use or which made and received the offer, or the person

6           or entity which made the information known or to whom it was made known. Prior art

7           under 35 U.S.C. § 102(f), or other claim of derivation, shall be identified by providing the
8           name of the person(s) from whom and the circumstances under which the invention or
9
            any part of it was derived. Prior art under 35 U.S.C. § 102(g) shall be identified by
10
            providing the identities of the person(s) or entities involved in and the circumstances
11
            surrounding the making of the invention before the patent applicant(s).
12
            2.5.2   Whether each item of prior art anticipates each asserted claim or renders it
13
            obvious. If obviousness is alleged, an explanation of why the prior art renders the
14

15          asserted claim obvious, including an identification of any combinations of prior art

16          showing obviousness.

17          2.5.3   A chart identifying where specifically in each alleged item of prior art each
18
            limitation of each asserted claim is found, including for each limitation that such party
19
            contends is governed by 35 U.S.C. § 112(6)/(f), the identity of the structure(s), act(s) or
20
            material(s) in each item of prior art that performs the claimed function.
21
            2.5.4   Any grounds of invalidity based on 35 U.S.C. § 101, indefiniteness under 35
22
            U.S.C. § 112(2)/(b), or enablement or written description under 35 U.S.C. § 112(1)/(a) of
23

24          any of the asserted claims.

25   2.6    Document Production Accompanying Invalidity Contentions

26   With the Invalidity Contentions, the party opposing a claim of patent infringement shall produce
27   the items described as follows in S.P.R. 2.6.1 through 2.6.2, identifying the documents
28
     corresponding to each category by production number.

                                                         28
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1
            2.6.1   Source code, specifications, schematics, flow charts, artwork, formulas or other
2
            documentation sufficient to show the operation of any aspects or elements of an
3
            Accused Instrumentality identified by the patent claimant’s S.P.R. 2.1.3 chart.
4

5           2.6.2    A copy or sample of the prior art identified under S.P.R. 2.5.1 that does not

6           appear in the file history of the patent(s) at issue. To the extent any such item is not in

7           English, an English translation of the portion relied upon shall be produced.
8    2.7    Disclosure Requirement in Patent Cases for Declaratory Judgment of Invalidity
9
            Where No Claim of Infringement Has Been Made
10
     In all cases where a party files a complaint or other pleading seeking a declaratory judgment
11
     that a patent is invalid, S.P.R. 2.1 and 2.2 shall not apply unless and until a claim for patent
12
     infringement is made, and the party asserting patent infringement shall have 28 days (instead of
13
     14 days) after the order setting the scheduling conference to make its disclosures pursuant to
14

15   S.P.R. 2.1 and 2.2. If the defendant does not assert a claim for patent infringement in its answer

16   to the complaint, the party seeking a declaratory judgment of invalidity shall serve upon each

17   opposing party its S.P.R. 2.5 and 2.6 disclosures no later than 14 days after the order setting
18
     the scheduling conference.
19
     3.     CLAIM CONSTRUCTION
20
     3.1    Exchange of Proposed Terms for Construction
21
     No later than 14 days after the S.P.R. 2.5 and 2.6 disclosures, each party shall serve on each
22
     other party a list of claim terms the party contends should be construed by the Court, and
23

24   identify any claim term the party contends should be governed by 35 U.S.C. § 112(6)/(f). The

25   parties shall then work to limit the terms in dispute by narrowing or resolving differences, and to

26   jointly identify the 10 terms likely to be most significant to the case.
27

28

                                                            29
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1
     3.2    Exchange of Claim Constructions and Extrinsic Evidence
2
     No later than 14 days after the exchange of the S.P.R. 3.1 lists, the parties shall simultaneously
3
     exchange proposed constructions of each term identified by either party for claim construction.
4

5    Each such construction shall also, for each term that any party contends is governed by 35

6    U.S.C. § 112(6)/(f), identify the structure(s), act(s) or material(s) corresponding to that term’s

7    function. At the same time the parties exchange their constructions, each party shall also
8    identify all references from the specification or prosecution history that support its proposed
9
     construction and designate any supporting extrinsic evidence including, without limitation,
10
     dictionary definitions, citations to learned treatises and prior art, and testimony of percipient and
11
     expert witnesses. Extrinsic evidence shall be identified by production number and by producing
12
     a copy if not previously produced. For any supporting witness, percipient or expert, the
13
     identifying party shall also provide a declaration containing that witness’ testimony regarding
14

15   claim construction. The parties shall then meet and confer to narrow the issues and finalize

16   preparation of a Joint Claim Construction and Prehearing Statement.

17   3.3    Completion of Claim Construction Discovery
18
     No later than 28 days after service of the material required by S.P.R. 3.2, the parties shall
19
     complete all discovery desired for claim construction, including any depositions of fact and
20
     expert witnesses regarding claim construction.
21
     3.4    Joint Claim Construction and Prehearing Statement
22
     No later than seven days after the completion of claim construction discovery, the parties shall
23

24   complete and file a Joint Claim Construction and Prehearing Statement. The Joint Claim

25   Construction and Prehearing Statement shall contain the information described as follows in

26   S.P.R. 3.4.1 through 3.4.5.
27

28

                                                           30
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1
           3.4.1   The parties’ agreed constructions.
2
           3.4.2   A chart showing each party’s proposed construction of each disputed term,
3
           together with an identification of all references from the specification or prosecution
4

5          history that support that construction, and an identification of any extrinsic evidence

6          supporting its proposed construction or undermining any other party’s proposed

7          construction, including, but not limited to, dictionary definitions, citations to learned
8          treatises and prior art, and testimony of percipient and expert witnesses.
9
           3.4.3   An identification of up to 10 terms whose construction will be most significant to
10
           the case. If the parties cannot agree on the 10 most significant terms, the parties shall
11
           identify the ones they agree are most significant and then they may evenly divide the
12
           remainder. While the Court may in its discretion construe more than 10 terms, the total
13
           terms identified by all parties as most significant cannot exceed 10. For example, in a
14

15         case involving two parties, if the parties agree upon the identification of five terms as

16         most significant, each may only identify two additional terms as most significant. A failure

17         to make a good faith effort to narrow the instances of disputed terms or otherwise
18
           participate in the meet and confer process of any of the provisions in S.P.R. 3 may
19
           expose counsel to sanctions, including under 28 U.S.C. § 1927.
20
           3.4.4   Whether the party believes it will need more than 45 minutes total for all its
21
           presentation at the claim construction hearing, and if so, how much time, and why more
22
           time is necessary.
23

24         3.4.5   Whether any party proposes to call one or more witnesses at the claim

25         construction hearing, the identity of each such witness, and for each witness, a summary

26         of the testimony including, for any expert, each opinion to be offered on claim
27         construction.
28

                                                          31
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1
     3.5    Claim Construction Briefs
2
     No later than seven days after they file the Joint Claim Construction and Prehearing Statement,
3
     the parties shall file simultaneous opening claim construction briefs of not more than 25 pages.
4

5    Not later than 14 days after the opening briefs, the parties shall file simultaneous responsive

6    briefs of not more than 10 pages. With its responsive brief, each party shall submit any

7    presentation material (such as demonstrative exhibits, including PowerPoint or other slide
8    presentations) it wishes to use at the claim construction hearing, and may submit a technology
9
     tutorial of no more than 20 minutes in length on CD-ROM, DVD or USB thumb drive. At the
10
     claim construction hearing, the Court will not accept, and will not permit the parties to use, any
11
     presentation material that was not submitted with the briefing. If a party wishes to use a physical
12
     exhibit at the claim construction hearing, it shall file with its responsive brief photographs of the
13
     physical exhibit along with a statement that it intends to use the physical exhibit at the hearing.
14

15   Concurrently with the filing of the responsive briefs, the parties shall jointly lodge with the Court

16   the material described as follows in S.P.R. 3.5.1 through 3.5.3.

17          3.5.1   A chart in Word or WordPerfect format providing the parties’ proposed
18
            constructions of each disputed term, with a column for the Court’s construction.
19
            3.5.2   An annotated copy of the certified file history for each asserted patent. Each file
20
            history shall be printed double-sided, indexed, tabbed and compiled in a three-ring
21
            binder. Each office action, response, filing or other communication shall be given a
22
            separate tab, with the date of each clearly designated. Portions of the file history relied
23

24          upon by the patentee for claim construction shall be highlighted in yellow. Portions of the

25          file history relied upon by the accused infringer(s) shall be highlighted in blue. Portions of

26          the file history relied upon by both sides shall be highlighted in green.
27

28

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1
            3.5.3   An electronic copy of each file history on a CD-ROM, DVD or USB thumb drive.
2
            Each file history shall be a single PDF file with bookmarks corresponding to the tabs on
3
            the paper copy, and containing the highlighting present on the paper copy.
4

5    3.6    Claim Construction Hearing

6    Subject to the Court’s calendar, approximately 119 days (17 weeks) after the scheduling

7    conference, the Court will conduct a claim construction hearing. Each side shall have 45
8    minutes for its presentation, subject to enlargement at the Court’s discretion. Again, parties may
9
     not use at the hearing any presentation material they did not previously submit in accordance
10
     with S.P.R. 3.5.
11
     4.     FINAL CONTENTIONS, EXPERT REPORTS, DISCLOSURE OF ADVICE OF
12
            COUNSEL, AND DISPOSITIVE MOTION DEADLINE
13
     4.1    Final Infringement Contentions and Expert Reports
14

15   No later than 28 days after the Court construes the claims, the party claiming patent

16   infringement shall serve the information described as follows in S.P.R. 4.1.1 and 4.1.2. The

17   deadlines provided in this rule do not excuse the requirement to supplement disclosures and
18
     discovery responses promptly. If a party receiving Final Infringement Contentions believes that
19
     amendments were made without good cause, it may move the Court to strike them.
20
            4.1.1   All Rule 26 expert reports on issues where the party claiming patent infringement
21
            bears the burden of proof.
22
            4.1.2   A statement that its S.P.R. 2.1 contentions are its Final Infringement Contentions,
23

24          or in the alternative, Final Infringement Contentions that amend its S.P.R. 2.1

25          contentions. A party serving Final Infringement Contentions that amend its prior

26          contentions shall also provide a redline against its prior contentions and a statement of
27          reasons for each amendment. Amendments are subject to a good cause standard but do
28
            not require prior Court approval where they are made due to a claim construction by the

                                                         33
     Case 2:18-cv-02288-JAK-SS Document 9 Filed 03/22/18 Page 34 of 83 Page ID #:78



1
             Court different from that proposed by the party seeking amendment, or recent discovery
2
             of nonpublic information about the Accused Instrumentality that was not discovered,
3
             despite diligent efforts, before the service of the Infringement Contentions.
4

5    4.2     Final Invalidity Contentions and Expert Reports

6    No later than 28 days after service of the Final Infringement Contentions, the party opposing a

7    claim of patent infringement shall serve the information described as follows in S.P.R. 4.2.1 and
8    4.2.2. The deadlines provided in this rule do not excuse the requirement to supplement
9
     disclosures and discovery responses promptly. If a party receiving Final Invalidity Contentions
10
     believes that amendments were made without good cause, it may move the Court to strike
11
     them.
12
             4.2.1   All Rule 26 expert reports on issues where the party opposing a claim of patent
13
             infringement bears the burden of proof.
14

15           4.2.2   A statement that its S.P.R. 2.5 contentions are its Final Invalidity Contentions, or

16           in the alternative, Final Invalidity Contentions that amend its S.P.R. 2.5 contentions. A

17           party serving Final Invalidity Contentions that amend its prior contentions shall also
18
             provide a redline against its prior contentions and a statement of reasons for each
19
             amendment. Amendments are subject to a good cause standard but do not require prior
20
             Court approval where they are made due to a claim construction by the Court different
21
             from that proposed by the party seeking amendment, or recent discovery of material
22
             prior art that was not discovered, despite diligent efforts, before the service of the
23

24           Invalidity Contentions.

25   4.3     Rebuttal Expert Reports and Close of Discovery

26   Rebuttal expert reports are due no later than 28 days after service of the respective S.P.R. 4.1
27   and 4.2 reports. Discovery closes 28 days after service of the latest set of rebuttal reports. This
28
     will typically be approximately 119 days (17 weeks) after the claim construction hearing.

                                                           34
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1
     Amendments to or supplementation of expert reports after Standing Patent Rules deadlines are
2
     presumptively prejudicial and shall not be allowed absent prior leave of court upon a showing of
3
     good cause that the amendment or supplementation could not reasonably have been made
4

5    earlier and that the opposing party is not unfairly prejudiced.

6    4.4    Advice of Counsel

7    No later than 28 days after service by the Court of its claim construction ruling, each party
8    relying upon advice of counsel as part of a patent-related claim or defense for any reason shall
9
     produce the information described as follows in S.P.R. 4.4.1 through 4.4.3. A party not
10
     complying with this rule shall not be permitted to rely on advice of counsel for any purpose
11
     absent a stipulation of all parties or order of the Court.
12
            4.4.1   Any written advice and related documents for which the attorney-client and
13
             work-product protection have been waived.
14

15          4.4.2   A written summary of any oral advice and related documents for which the

16          attorney-client and work-product protection have been waived.

17          4.4.3   A privilege log identifying any other documents, except those authored by
18
            counsel acting solely as trial counsel, relating to the subject matter of the advice that the
19
            party is withholding on the grounds of attorney-client privilege or work-product
20
            protection.
21
     4.5    Final Day for Filing Dispositive Motions
22
     All dispositive motions shall be filed no later than 28 days after the close of discovery.
23

24   5.     TRIAL

25   5.1    Standard Trial Procedures

26   Generally, trial procedure is governed by this Court’s Specific Order on Jury/Court Trial and the
27   Central District of California’s Local Rules.
28

                                                           35
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1
     5.2    Other Possible Trial Procedures
2
     The Court is open to creative trial procedures, such as imposing time limits, allowing short
3
     statements introducing each witness’s testimony before examination, allowing questions from
4

5    the jury and giving the jury a full set of instructions before the presentation of evidence.

6
     IT IS SO ORDERED.
7
                                                           _________________________________
8                                                          JOHN A. KRONSTADT
                                                           UNITED STATES DISTRICT JUDGE
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     Case 2:18-cv-02288-JAK-SS Document 9 Filed 03/22/18 Page 37 of 83 Page ID #:81



1
                                       EXHIBIT C
2
                ORDER SETTING RULE 16(b)/26(f) SCHEDULING CONFERENCE
3

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8                                   UNITED STATES DISTRICT COURT
9
                                   CENTRAL DISTRICT OF CALIFORNIA
10

11   Plaintiff’s Name(s),                             ) Case No.: _____________ JAK ( x)
                                                      )
12                          Plaintiff(s),             ) ORDER SETTING RULE 16(b)/26(f)
     vs.                                              ) SCHEDULING CONFERENCE
13                                                    )
     Defendant’s Name(s),                             )
14
                                                      )
15                          Defendant(s).             )
                                                      )
16                                                    )

17
     This case has been assigned to Judge John A. Kronstadt. This Order applies to all parties in
18

19   this action, whether or not they are represented by counsel. “Counsel,” as used in this Order,

20   also refers to parties who are representing themselves. If plaintiff has not already served the

21   complaint (or any amendment thereto) on each defendant, plaintiff shall promptly do so and

22   shall file proofs of service within three (3) days thereafter. Defendant(s) also shall timely serve
23
     and file their responsive pleadings and file proofs of service within three (3) days thereafter.
24
     This matter is set for a scheduling conference on the above date. The conference will be held
25
     pursuant to Fed. R. Civ. P. 16 and Fed. R. Civ. P. 26(a). The parties are reminded of their
26
     obligations under Fed. R. Civ. P. 26(a) to disclose information (without awaiting a discovery
27
     request) and under Rule 26(f) to confer on a discovery plan not later than twenty-one (21) days
28

                                                          38
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1
     prior to the scheduling conference and to file a report with the Court entitled “Joint Rule
2
     16(b)/26(f) Report” not later than ten (10) calendar days before the date set for the scheduling
3
     conference. Please comply with these requirements; it will simplify the Scheduling Conference.
4

5           The Court encourages counsel to begin to conduct discovery actively before the

6    Scheduling Conference. The Court encourages prompt, early discovery because at the

7    Scheduling Conference the Court will set firm deadlines to complete discovery. The parties shall
8    comply fully with the letter and spirit of Fed. R. Civ. P. 26(a) and thereby obtain and produce
9
     most of what would be produced in the early stage of discovery. Discovery is not stayed prior to
10
     the Scheduling Conference or after dates have been set unless otherwise ordered by the Court.
11
     1.     Joint Rule 16(b)/26(f) Report
12
            The Joint Rule 16(b)/26(f) Report, which shall be filed not later than ten (10) calendar
13
     days before the scheduling conference, shall be drafted by plaintiff’s counsel (unless the parties
14

15   agree otherwise or unless plaintiff is self-represented, in which case defendant’s counsel), but

16   shall be submitted and signed jointly. “Jointly” contemplates a single report, regardless of how

17   many separately-represented parties there are. The Joint Rule 16(b)/26(f) Report shall report on
18
     all matters enumerated below, which include those required to be discussed by Rule 26(f) and
19
     Local Rule 26. The Joint Rule 16(b)/26(f) Report should set forth the following information under
20
     section headings corresponding to those in this Order:
21
     a.     Statement of the Case: A short synopsis (not to exceed two (2) pages) of the main
22
     claims, counterclaims, and affirmative defenses.
23

24   b.     Subject Matter Jurisdiction: A statement of the specific basis of federal jurisdiction,

25   including supplemental jurisdiction.

26   c.     Legal Issues: A brief description of the key legal issues, including any unusual
27   substantive, procedural or evidentiary issues.
28

                                                          39
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1
     d.      Parties, and Non-Party Witnesses: A list of parties and percipient witnesses on the main
2
     issues in the case. For conflict purposes, corporate parties must identify all subsidiaries, parents
3
     and affiliates.
4

5    e.      Damages: The realistic range of provable damages.

6    f.      Insurance: Whether there is insurance coverage.

7    g.      Motions: A statement of the likelihood of motions seeking to add other parties or claims,
8    file amended pleadings or transfer venue.
9
     h.      Manual for Complex Litigation: Whether all or part of the procedures of the Manual for
10
     Complex Litigation should be utilized.
11
     i.      Status of Discovery: A discussion of the present state of discovery, including a summary
12
     of completed discovery.
13
     j.      Discovery Plan: A detailed discovery plan, as contemplated by Rule 26(f), including the
14

15   identity of all anticipated deponents and dates by which their depositions are to be completed (if

16   possible), anticipated written discovery requests, including requests for admission, document

17   requests, and interrogatories, and a schedule for completion of all discovery. State what, if any,
18
     changes in the disclosures under Rule 26(a) should be made, the subjects on which discovery
19
     may be needed and whether discovery should be conducted in phases or limited in some
20
     manner, whether applicable limitations should be changed or other limitations imposed, and
21
     whether the Court should enter other orders. Please note that a statement to the effect that
22
     discovery will be conducted as to all claims and defenses, will not satisfy this requirement.
23

24   k.      Discovery Cut-Off: A proposed discovery cut-off date. This means the final day for

25   completion of non-expert discovery, including resolution of all discovery motions. The last day to

26   hear discovery motions shall be the same as the last day to hear all motions. See Exh. C-1.
27   l.      Expert Discovery: Proposed dates for expert witness disclosures (initial and rebuttal) and
28
     expert discovery cut-off under Rule 26(a)(2).

                                                          40
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1
     m.      Dispositive Motions: A description of the issues or claims that any party believes may be
2
     determined by motion for summary judgment or motion in limine.
3
     n.      Settlement: A statement of what settlement discussions or written communications have
4

5    occurred (excluding any disclosure or discussion of the substantive matters or terms discussed)

6    and a statement pursuant to Local Rule 16-15.4 about selecting a settlement mechanism under

7    that Rule. In light of the Court’s participation in the ADR Program, no case will proceed to trial
8    unless all parties with full authority to settle the case – including, as to each corporate party, an
9
     officer who has such authority – have appeared personally at a settlement conference. The
10
     Court will discuss the proposed ADR procedure with the parties at the time of the Scheduling
11
     Conference and will issue the ADR-12 order once the settlement method is selected. For
12
     information about the Court’s ADR Program, review General Order 11-10, which is located on
13
     the “ADR” page of the Court’s website.
14

15   o.      Trial Estimate: A realistic estimate of the time required for trial and whether trial will be

16   by jury or by the Court. Each side should specify (by number, not by name) how many

17   witnesses it contemplates calling. If the time estimate for trial given in the Joint Rule 26(f)
18
     Report exceeds five (5) court days, counsel shall be prepared to discuss in detail the estimate.
19
     p.      Trial Counsel: The name(s) of the attorney(s) who will try the case, including those who
20
     will be lead trial counsel.
21
     q.      Independent Expert or Master: Whether this is a case in which the Court should consider
22
     appointing a Master pursuant to Rule 53 or an independent scientific expert.
23

24   r.      Timetable: Please complete the Schedule of Pretrial and Trial Dates form attached as

25   Exhibit A to this Order (Exhibit C-1) and attach it to the Joint Rule 16(b)/26(f) Report. The

26   entries in the “Weeks Before Trial” column reflect what the Court believes are appropriate for
27   most cases and will allow the Court to rule on potentially dispositive motions sufficiently far in
28
     advance of the pretrial conference. The form is designed to enable counsel to ask the Court to

                                                            41
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1
     set different last dates by which the key requirements must be completed. Each side should fill
2
     in the month, day and year it requests for each event. E.g., for the expert discovery cut-off it
3
     might be “10/7/16” for plaintiff and “10/28/16” for defendant, if they cannot agree. Each entry
4

5    proposing a Court date shall be on a Monday, except the trial date, which will be a Tuesday.

6    Counsel should ensure that requested dates do not fall on a court holiday. At the conference,

7    the Court will review this form with counsel in determining the dates that will be set in the case.
8    The cut-off date for motions is the last date on which motions may be heard, not filed. The Court
9
     is not likely to continue this date, and will not do so unless the trial date is also continued.
10
     Counsel shall refer to the Court’s “Order on Court/Jury Trial.” See Exh. D. This Order will set
11
     forth all pre-trial and trial obligations of counsel, and, where applicable, the deadlines for each.
12
     s.     Other Issues: A statement of any other issues affecting the status or management of the
13
     case (e.g., unusually complicated technical or technological issues, disputes over protective
14

15   orders, extraordinarily voluminous document production, non-English speaking witnesses, ADA-

16   related issues, discovery in foreign jurisdictions) and any proposals concerning severance,

17   bifurcation or other ordering of proof.
18
     t.     Patent Cases: Propose dates and methodology for claim construction and Markman
19
     hearings. See also Exh. B.
20
     u.     Whether the Parties Wish to Have a Magistrate Judge Preside: Under 28 U.S.C. § 636,
21
     the parties may consent to have a Magistrate Judge preside over an entire action, not just
22
     discovery. See General Order 12-01 and General Order 12-02. The parties may select a
23

24   Magistrate Judge from the Voluntary Consent List and comply with the requirements outlined in

25   General Order 12-01 and General Order 12-02 and those outlined on the Court’s website:

26   http://www.cacd.uscourts.gov/judges-requirements/court-programs/voluntary-consent-list-civil-
27   cases-magistrate-judges-program.
28

                                                            42
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1
     2.     Scheduling Conference
2
            The Scheduling Conference will be held in Courtroom 10b of the First Street Courthouse
3
     at 350 W. First Street. Counsel shall comply with the following with respect to the Scheduling
4

5    Conference:

6    a.     Participation: The lead trial attorney for each party shall attend the Scheduling

7    Conference unless such counsel is engaged in trial, or has good cause following a request to
8    the Clerk by either telephone or email in advance of the Scheduling Conference.
9
     b.     Continuance: A continuance of the Scheduling Conference will be granted only for good
10
     cause, following a written request with a proposed order to be e-filed at least one (1) week in
11
     advance of the Scheduling Conference.
12
     c.     Use of Conference Telephone: In general, the Court prefers in-person appearances.
13
     However, if one or more of the lead counsel has his or her office outside of Los Angeles County,
14

15   or under other appropriate circumstances, the Court may, upon the request of one or more

16   counsel, conduct the status conference by conference telephone call. Any request for a

17   telephonic appearance must be made at least two (2) court days before the scheduled hearing
18
     by contacting the Courtroom Deputy Clerk for further instructions. The Court does not entertain
19
     a telephonic appearance if the Scheduling Conference is set at the same date and time as a
20
     motion unless it is an exceptional and unanticipated circumstance. Any request for a telephonic
21
     appearance at a motion hearing must be made in writing and e-filed at least seven (7) calendar
22
     days before the scheduled hearing and shall include a declaration from counsel setting forth the
23

24   basis for the request with a proposed order. The Court does not use Court Call. If the request is

25   granted, the order will include the information for the call. Please note that cell phones or the

26   use of speaker phones are not permitted for any telephonic appearance.
27

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1
     3.     Protective Orders
2
            If you seek a protective order, please use your best efforts to propose it to opposing
3
     counsel before the Scheduling Conference. Protective orders are considered discovery and
4

5    shall be prepared and submitted to the assigned Magistrate Judge.

6    4.     Notice to be Provided by Counsel

7           Plaintiff’s counsel or, if plaintiff is self-represented, defendant’s counsel, shall serve this
8    Order on any parties who first appear after the date of this Order and to parties who are known
9
     to exist but have not yet entered appearances.
10
     5.     Disclosures to Clients
11
            Counsel are ordered to deliver to their respective clients a copy of this Order and of the
12
     Court’s Scheduling and Case Management Order, which will set forth the schedule that the
13
     Court establishes at the Scheduling Conference.
14

15
     IT IS SO ORDERED.
16
                                                            _________________________________
17                                                          JOHN A. KRONSTADT
                                                            UNITED STATES DISTRICT JUDGE
18

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1
                                         EXHIBIT C-1
2

3            EXHIBIT A TO ORDER SETTING RULE 16(b)/26(f) SCHEDULING CONFERENCE:
4                     SCHEDULE OF PRETRIAL AND TRIAL DATES FOR:

5                                      1. CIVIL CASES
                                      2. PATENT CASES
6
                                       3. ERISA CASES
7

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     Case 2:18-cv-02288-JAK-SS Document 9 Filed 03/22/18 Page 46 of 83 Page ID #:90



1
     EXHIBIT A - SCHEDULE OF PRETRIAL AND TRIAL DATES FOR CIVIL CASES
2     Case No.:

3
      Case Name:
4

5     Hearings:                                            Plaintiff(s)   Defendant(s)   Court Order
                                                           Request        Request
6
      ____ Jury Trial
7     ____ Court Trial
      (Tuesday at 9:00 a.m.)
8
      Duration Estimate:
9
      ____ Days
10    ____ Weeks

11    Final Pretrial Conference (“FPTC”) & Status
      Conference re Disputed Exhibits:
12
      (Monday at 3:00 p.m.: Two weeks before the trial)
13
      Deadlines for Bench Trials Only:           Weeks     Plaintiff(s)   Defendant(s)   Court Order
14                                               Before    Request        Request
                                                 FPTC
15    Anticipated Ruling to be Issued by Court   Same
16                                               date

17    Last Date to File Objections to Direct     2
      Testimony Declarations
18
      Last Date to File Direct Testimony         3
19
      Declarations
20
      Proposed Motion Practice for Motions       Weeks     Plaintiff(s)   Defendant(s)   Court Order
21    for Summary Judgment & Motions for         Before    Request        Request
      Class Certification:                       FPTC
22
      Hearing on Motion
23
      Reply to Motion
24
      Response to Motion
25

26    Last day to File Motion

27

28

                                                          46
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1
      Deadlines:                                   Weeks     Plaintiff(s)   Defendant(s)   Court Order
2                                                  Before    Request        Request
                                                   FPTC
3
      Anticipated Ruling on All Motions            4
4
      Last Date to Hear Motions                    8
5     (including discovery motions)

6
      Last Date to File Motions                    20
7     (including discovery motions)

8     Expert Discovery Cut-Off                     20

9
      Expert Disclosure (Rebuttal)                 22
10
      Expert Disclosure (Initial)                  24
11

12    Non-Expert Discovery Cut-Off                 26

13    Last Date to Add Parties/Amend
      Pleadings
14

15    Settlement Procedure Selection:                        Plaintiff(s)   Defendant(s)   Court Order
      (ADR-12 Form will be completed by Court after          Request        Request
16    scheduling conference)

17
      1. Magistrate Judge
18    2. Attorney Settlement Officer Panel
      3. Outside ADR/Non-Judicial (Private)
19
      Last day to conduct settlement conference/mediation
20
      Notice of Settlement / Joint Report re Settlement
21
      (10 days before PMSC)
22
      Post Mediation Status Conference:
23    (Monday at 1:30 pm: 14 days after the last day to
      conduct settlement)
24

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1
     EXHIBIT A - SCHEDULE OF PRETRIAL AND TRIAL DATES FOR PATENT CASES
2     Case No.:

3
      Case Name:
4

5     Hearings:                                               Plaintiff(s)   Defendant(s)   Court Order
                                                              Request        Request
6
      ____ Jury Trial
7     ____ Court Trial
      (Tuesday at 9:00 a.m.)
8
      Duration Estimate:
9
      ____ Days
10    ____ Weeks

11    Final Pretrial Conference (“FPTC”) & Status
      Conference re Disputed Exhibits:
12
      (Monday at 3:00 p.m.: Two weeks before the trial)
13
      Deadlines for Bench Trials Only:           Weeks        Plaintiff(s)   Defendant(s)   Court Order
14                                               Before       Request        Request
                                                 FPTC
15    Anticipated Ruling to be Issued by Court   Same
16                                               date

17    Last Date to File Objections to Direct     2
      Testimony Declarations
18
      Last Date to File Direct Testimony         3
19
      Declarations
20

21

22   Deadlines:                     Weeks After Listed        Plaintiff(s)   Defendant(s)   Court Order
                                    Event                     Request        Request
23
     Infringement Contentions       2 (After Order Setting
24   (S.P.R. 2.1, 2.2)              Scheduling Conference)
25   Early Meeting of the           4 (After Order Setting
     Parties, Initial Disclosures   Scheduling Conference)
26
     (S.P.R. 2.3)
27
     Joint Rule 26(f) Report        6 (After Order Setting
28   (S.P.R. 2.3)                   Scheduling Conference)


                                                             48
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1
     Scheduling Conference           [set by Court]
2    (S.P.R. 2.4)

3
     Invalidity Contentions          2 (After Scheduling
4    (S.P.R. 2.5, 2.6)               Conference)

5    Exchange of Claim Terms         4 (After Scheduling
     (S.P.R. 3.1)                    Conference)
6
     Exchange Proposed               6 (After Scheduling
7    Constructions and Evidence      Conference)
     (S.P.R. 3.2)
8
     Complete Claim                  10 (After Scheduling
9    Construction Discovery          Conference)
     (S.P.R. 3.3)
10
     Joint Markman Prehearing        11 (After Scheduling
11
     Statement                       Conference)
     (S.P.R. 3.4)
12

13   Simultaneous Opening            12 (After Scheduling
     Markman Briefs                  Conference)
14   (S.P.R. 3.5)

15   Simultaneously Responding       14 (After Scheduling
     Markman Briefs, Tutorials,      Conference)
16   and Presentation Materials
     (S.P.R. 3.5)
17
     Markman Hearing                 17 (After Scheduling
18   (S.P.R. 3.6)                    Conference)

19   Markman Decision                [set by Court]

20   Patentee Files Final            4 (After Markman
     Infringement Contentions,       Decision)
21   Expert Reports on issues
     Where Patentee has
22   Burden of Proof, All Parties
     File Advice of Counsel
23   Disclosures (S.P.R. 4.1,
     4.4)
24
     Accused Infringer Files         8 (After Markman
25   Final Invalidity Contentions,   Decision)
     Rebuttal Expert Reports,
26   and Opening Expert
     Reports Where Accused
27   Infringer has Burden of
     Proof (S.P.R. 4.2)
28

                                                            49
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1
     Patentee’s Rebuttal Expert      12 (After Markman
2    Reports on Issues Where         Decision)
     Accused Infringer has
3    Burden of Proof
     (S.P.R. 4.3)
4
     Discovery Cut-Off               16 (After Markman
5    (S.P.R. 4.3)                    Decision)

6    Last Date to File Dispositive   20 (After Markman
     Motions                         Decision)
7    (S.P.R. 4.5)

8    Last Date to Hear Motions       27 (After Markman
     (not file)                      Decision)
9
     Last Date to Add
10
     Parties/Amend Pleadings
11
     Settlement Procedure Selection:                        Plaintiff(s)   Defendant(s)   Court Order
12   (ADR-12 Form will be completed by Court after          Request        Request
     scheduling conference)
13
     1. Magistrate Judge
     2. Attorney Settlement Officer Panel
14
     3. Outside ADR/Non-Judicial (Private)
15
     Last day to conduct settlement conference/mediation
16

17   Notice of Settlement / Joint Report re Settlement
     (10 days before PMSC)
18
     Post Mediation Status Conference:
19
     (Monday at 1:30 pm: 14 days after the last day to
20   conduct settlement)

21

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1
     EXHIBIT A - SCHEDULE OF PRETRIAL AND TRIAL DATES FOR ERISA CASES
2     Case No.:

3
      Case Name:
4

5

6     Hearings:                                                   Plaintiff(s)   Defendant(s)   Court Order
                                                                  Request        Request
7     Court Trial/Hearing on Administrative Record:
      (Tuesday at 9:00 a.m.)
8
      Duration Estimate: ____ Days / ____ Weeks
9

10    Final Pretrial Conference: (Monday at 3:00 p.m.)
      (Two weeks before the trial)
11
      Simultaneous Responsive Briefs
12

13
      Simultaneous Opening Briefs
14
      Last Date to Add Parties/Amend Pleadings
15

16
      Settlement Procedure Selection:                             Plaintiff(s)   Defendant(s)   Court Order
      (ADR-12 Form will be completed by Court after scheduling    Request        Request
17    conference)

18    1. Magistrate Judge
      2. Attorney Settlement Officer Panel
19    3. Outside ADR/Non-Judicial (Private)

20    Last day to conduct settlement conference/mediation

21
      Notice of Settlement / Joint Report re Settlement
22    (10 days before PMSC)

23
      Post Mediation Status Conference: (Monday at 1:30 pm)
24    (14 days after the last day to conduct settlement)

25

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1
                                       EXHIBIT D
2
           ORDER RE JURY/COURT TRIAL FOR CASES ASSIGNED TO JUDGE JOHN A.
3                                   KRONSTADT
4

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7
                                    UNITED STATES DISTRICT COURT
8
                                   CENTRAL DISTRICT OF CALIFORNIA
9

10
     Plaintiff’s Name(s),                            )   Case No.: _____________ JAK ( x)
11                                                   )
                            Plaintiff(s),            )   ORDER RE JURY/COURT TRIAL FOR
12   vs.                                             )   CASES ASSIGNED TO JUDGE JOHN A.
                                                     )   KRONSTADT
13   Defendant’s Name(s),                            )
                                                     )
14
                            Defendant(s).            )
15                                                   )
                                                     )
16

17   A. SCHEDULING
18
            1. In General: The last day for hearing on any motion to join other parties or to amend
19
     the pleadings shall be specified in the Scheduling Order. All unserved parties shall be dismissed
20
     no later than the date set for the Final Pretrial Conference.
21
            2. Motions for Summary Judgment or Partial Summary Judgment: Motions for
22
     Summary Judgment or Partial Summary Judgment shall be heard no later than the last day for
23

24   hearing motions, as set forth in the Scheduling Order.

25          3. Settlement Procedures: It is the policy of the Court to encourage disposition of civil

26   litigation by settlement when such is in the best interest of the parties. The Court favors any
27   reasonable means to accomplish this goal. Pursuant to Local Rule 16-15, in every civil case, the
28
     parties shall select a settlement procedure. If counsel have received a Notice to Parties of
                                                          53
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1
     Court-Directed ADR Program (Form ADR-08), the case presumptively will be referred to the
2
     Court Mediation Panel or to private mediation. See General Order 11-10, § 5.1 and Local Rule
3
     26-1(c). The Court will discuss the proposed ADR procedure with the parties at the time of the
4

5    Scheduling Conference and will issue the ADR-12 form once the settlement method is selected.

6    For information about the Court’s ADR Program, review General Order 11-10, which is located

7    on the “ADR” page of the Court’s website.
8            4. Discovery Cut-Off: The Scheduling Order establishes a cut-off date for discovery in
9
     this action. This is not the date by which discovery requests must be served; it is the date by
10
     which all discovery is to be completed. The Court will not approve stipulations between counsel
11
     that permit responses to be served after the cut-off date, except in extraordinary circumstances.
12
             5. Discovery Motions: Any motion with respect to the inadequacy of responses to
13
     discovery must be heard by the date set for the last day to hear motions. Whenever possible,
14

15   the Court expects counsel to resolve discovery issues among themselves in a courteous,

16   reasonable and professional manner. Thus, the Court expects that counsel will strictly adhere to

17   the Civility and Professional Guidelines adopted by the United States District Court for the
18
     Central District of California.
19
     B. FINAL PRETRIAL CONFERENCE
20
             This case has been placed on the calendar for a Final Pretrial Conference pursuant to
21
     Fed. R. Civ. P. 16. Strict compliance with the requirements of the Federal Rules of Civil
22
     Procedure and the Local Rules is mandatory. Counsel shall file carefully prepared Memoranda
23

24   of Contentions of Fact and Law (which may also serve as the parties’ respective trial briefs) and

25   a Final Pretrial Conference Order in accordance with the provisions of Local Rules 16-4 and 16-

26   7. The Memoranda of Contentions of Fact and Law will be served no later than twenty-one (21)
27   days before the Pretrial Conference. The Final Pretrial Conference Order will be lodged no later
28

                                                         54
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1
     than fourteen (14) days before the Final Pretrial Conference. The form of the Final Pretrial
2
     Conference Order will be in the form set forth in Appendix A to the Local Rules.
3
     C. PREPARATION FOR TRIAL
4

5             The Court ORDERS that all counsel comply with the following rules in their preparation

6    for trial:

7             1. Motions In Limine: All motions in limine will be heard at the Final Pretrial
8    Conference. The purpose of these motions is to alert the Court to significant evidentiary issues
9
     that can be addressed and resolved prior to trial. All motions in limine must be e-filed fourteen
10
     (14) calendar days before the Final Pretrial Conference and served in compliance with Local
11
     Rule 6-1. Any oppositions shall be e-filed no later than seven (7) calendar days before the Final
12
     Pretrial Conference and not exceed ten (10) pages. The Court will permit oral argument on
13
     motions in limine and, therefore, a reply is not required. A proposed order is not required to be
14

15   e-filed with the motion(s).

16            2. Statement of the Case (Jury Trials): Counsel shall meet and confer twenty-one (21)

17   calendar days prior to the Final Pretrial Conference to determine if, in lieu of a Joint Statement
18
     of the Case, they will stipulate to having each side make a brief (less than five minute) mini-
19
     opening statement to the panel of prospective jurors prior to the commencement of voir dire.
20
     Such mini-opening statements are not to be argument, but rather a summary of the evidence
21
     that each side intends to present. If all parties do not stipulate to the use of mini-opening
22
     statements, they shall meet and confer and seek to reach agreement on a Joint Statement of
23

24   the Case to be read by the Court to the panel of prospective jurors prior to the commencement

25   of voir dire. Counsel shall file the joint statement of the case no later than fourteen (14) calendar

26   days prior to the Final Pretrial Conference. If the parties cannot agree on such a joint statement,
27   they shall file a “Disputed Joint Statement of the Case,” which shall include each party’s
28
     respective proposed statement, together with a “redline” comparing the parties’ respective

                                                          55
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1
      statements. The parties shall deliver a courtesy copy pursuant to Local Rule 5-4.5. A final
2
      version of the joint statement shall be provided to the Court on the first day of trial.
3
               3. Voir Dire (Jury Trials): Counsel may submit proposed voir dire questions that are
4

5     unique to the particular trial. Each party may submit their respective questions fourteen (14)

6     calendar days prior to the Final Pretrial Conference.

7              4. Witness Lists: A witness list shall be prepared in compliance with Local Rule 16-5
8     and shall be filed no later than fourteen (14) calendar days prior to the Final Pretrial Conference.
9
      Counsel shall submit the names of the witnesses in the order that they are expected to testify,
10
      and will provide, to the extent possible, an accurate estimate of the time needed for each
11
      witness for direct, cross, redirect and re-cross. Counsel will also provide a brief summary of
12
      each witness’ testimony. If more than one witness is offered on the same subject, the summary
13
      should be sufficiently detailed to allow the Court to determine if the testimony is cumulative.
14

15             Counsel shall set forth the information about the amount of time that is expected for the

16    testimony of each witness on a jointly-prepared document with five columns: (i) name of the

17    witness; (ii) estimated time for direct examination (in hours, with portions thereof stated in
18
      decimal form, e.g., “1.5 hours,” if the estimate is for one hour and 30 minutes); (iii) estimated
19
      time for cross-examination; (iv) estimated time for re-direct examination; and (v) total time for
20
      the witness. At the bottom of each page the total time for all witnesses on that page shall be
21
      stated, with the grand total of all time stated on the final page of the chart.
22
               At the time of trial, counsel shall provide three (3) copies of the witness lists in the order
23

24    in which the witnesses will be called to testify and three (3) copies of witness lists in alphabetical

25    order.

26             5. Jury Instructions: In a jury trial, jury instructions are to be filed no later than fourteen
27    (14) calendar days prior to the Final Pretrial Conference. The parties shall make every attempt
28
      to agree upon jury instructions before submitting proposals to the Court. The Court prefers Ninth

                                                             56
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1
      Circuit model instructions. Counsel shall exchange proposed jury instructions (general and
2
      special) twenty-eight (28) calendar days prior to the Final Pretrial Conference. Counsel shall
3
      exchange any objections to the instructions twenty-one (21) calendar days prior to the Final
4

5     Pretrial Conference. Counsel shall meet and confer with the goal of reaching an agreement on

6     one set of joint jury instructions, which shall be filed no later than fourteen (14) calendar days

7     before the Final Pretrial Conference. If the parties disagree over any proposed jury
8     instruction(s), the parties shall file: (i) one set of proposed jury instructions to which all parties
9
      agree; and (ii) one set of disputed jury instructions, which shall include a “redline” of any
10
      disputed language and/or the factual or legal basis for each party’s respective position as to
11
      each disputed instruction. Where appropriate, the disputed instructions shall be organized by
12
      subject, so that the instructions that address the same or similar issues are presented
13
      sequentially. The parties shall deliver a courtesy copy of these documents pursuant to Local
14

15    Rule 5-4.5. A final “clean” version of the jury instructions, which shall include the pre-instructions

16    and the text of each instruction (eliminating titles, supporting authority, indication of party

17    proposing, etc.) shall be provided to the Court on the first day of trial and sent via email in either
18
      Word or Word Perfect to the Court’s Chambers’ email at: jak_chambers@cacd.uscourts.gov.
19
              6. Verdict Form(s) in Jury Trials: The parties shall make every attempt to agree upon
20
      a verdict form before submitting proposals to the Court. Counsel shall file a proposed verdict
21
      form(s) no later than fourteen (14) calendar days prior to the Final Pretrial Conference. If the
22
      parties are unable to agree on a verdict form, the parties shall file one document titled
23

24    “Competing Verdict Forms” which shall include: (i) the parties’ respective proposed verdict form;

25    (ii) a “redline” of any disputed language; and (iii) the factual or legal basis for each party’s

26    respective position if the entire form is being disputed. The parties shall deliver a courtesy copy
27    of these documents pursuant to Local Rule 5-4.5. A final version of the verdict form shall be
28

                                                             57
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1
      provided to the Court on the first day of trial and sent via email in either Word or Word Perfect to
2
      the Court’s Chambers’ email at: jak_chambers@cacd.uscourts.gov.
3
                7. Exhibits:
4

5                              a.     Exhibit List: A joint exhibit list will be prepared in compliance with

6     the example below and Local Rule 16-6.

7                JOINT EXHIBIT LIST
8
                 Case Name:
9
                 Case Number:
10
       No. of          Description                     Stip. to      Stip. to      Date         Date
11

12     Exhibit                                         Authen.       Admiss.       Identified   Admitted

13

14

15
                Lead trial counsel shall meet and confer at least twenty-one (21) calendar days before
16
      the Final Pretrial Conference to discuss and seek to agree, to the extent possible, on issues
17
      including foundation, and admissibility of proposed exhibits. A joint exhibit list, the format of
18

19    which shall comply with Local Rule 16-6.1, shall be filed fourteen (14) calendar days prior to the

20    Final Pretrial Conference. Counsel shall file a “Notice of Disputed Exhibits,” if applicable, which

21    shall set forth the basis for any disputed exhibit(s). Counsel shall confer so that there are no
22    duplicate exhibits.
23
                               b.     Exhibit Preparation: One (1) original (witness copy) and one (1)
24
      copy (bench copy) shall be presented to the Courtroom Deputy Clerk on the first day of trial.
25
      The exhibits shall be presented in a binder. Each binder shall be clearly labeled on the spine to
26
      include the case name, party and volume number. The Court does not require specific exhibit
27

28

                                                            58
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1
      tags so long as each document is bate-stamped and separated with a divider that is numbered.
2
      Each party shall use a different number sequence and shall comply with Local Rule 26-3.
3
                              c.     Voluminous Trial Exhibits/Materials: Arrangements for bringing
4

5     voluminous trial materials or exhibits into the Courtroom through the Building Vehicle Loading

6     Dock, if required, may be made through the Space & Facilities Help Desk at 213-894.1400.

7     Before contacting Space & Facilities for a required security pass, prior approval of delivery time
8     must be coordinated with the Courtroom Deputy Clerk. Once approval from the Clerk is
9
      received, logistical delivery information must be provided to Space & Facilities no later than 48
10
      hours of the date of arrival to create and issue the required security pass. Counsel and
11
      messengers attempting to access the building parking and loading dock without a required pass
12
      will be denied entry.
13
             8. (Court Trials): Findings of Fact and Conclusions of Law; Declarations: For any
14

15    matter requiring findings of fact and conclusions of law, counsel for each party shall lodge and

16    serve proposed findings of fact and conclusions of law as promptly as possible in compliance

17    with Local Rule 52. In addition, counsel must submit electronic versions (in Word or Word
18
      Perfect) to the Court at the following email address: jak_chambers@cacd.uscourts.gov. When
19
      ordered by the Court in a particular case, each party shall, at least twenty-one (21) calendar
20
      days prior to the Final Pretrial Conference, file declarations containing the direct testimony of
21
      each witness whom that party intends to call at trial. If such declarations are filed, each party
22
      shall file any evidentiary objections to the declaration(s) submitted by any other party at least
23

24    fourteen (14) calendar days prior to the Final Pretrial Conference. If any party submits such

25    objections, they shall be submitted in the following three-column format: (i) the left column

26    should contain a verbatim quote of each statement objected to (including page and line
27    number); (ii) the middle column should set forth a concise objection (e.g., hearsay, lacks
28
      foundation, etc.) with a citation to the Federal Rules of Evidence or, where applicable, a case

                                                           59
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1
      citation; and (iii) the right column should provide space for the Court's entry of its ruling on the
2
      objection. The Court anticipates issuing its ruling on the objections the same date as the date
3
      scheduled for the Final Pretrial Conference. Counsel shall refer to the Court's Initial Standing
4

5     Order and Exhibit F for the proper format.

6            9. Notice to Court Reporter re Uncommon and/or Scientific Terms: At least one

7     week before trial, the parties must confer and file a glossary of terms for the court reporter that
8     includes applicable medical, scientific, or technical terms, gang terms, slang, the names and
9
      spellings of names likely to be cited, and any other case-specific terminology.
10
      D. ATTORNEY AND PARTY CONDUCT AT TRIAL
11
             1. Trial Schedule: Trials are generally conducted Tuesday through Friday. The Court
12
      will adopt a particular time schedule on a case-by-case basis. In general, the schedule will be
13
      either: (i) from 8:30 a.m. to 2:30 p.m. with two or three 20-minute breaks; or (ii) from 9:00 a.m. to
14

15    4:00 p.m., with a 15-minute break in both the morning and the afternoon, and a one-hour lunch

16    break. This schedule may be changed for each trial and during each trial depending on the

17    scheduling needs of jurors, witnesses, counsel or the Court.
18
             2. Trial Conduct:
19
                             a.      Jury Selection
20
                                     1. The Court will seat as prospective jurors the same number of
21
      jurors who will serve at trial. The Court will conduct voir dire of this panel, which may include
22
      questions proposed by counsel both prior to trial and during the voir dire process. After any
23

24    potential juror is excused for cause, a replacement juror will be placed in the vacant seat and

25    will respond to voir dire. Once a panel is in place to which there are no remaining or

26    unadjudicated “for cause” challenges, counsel for each side will be permitted to exercise their
27    respective peremptory challenge(s) through the Court. Upon the exercise of a peremptory
28

                                                            60
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1
      challenge, a replacement juror will be seated, will respond to voir dire and will be subject to a
2
      “for cause” challenge before any remaining peremptory challenge is exercised.
3
                             b.      Opening Statements, Examining Witnesses, and Summation
4

5                                    1. At the end of each day, counsel presenting his or her case shall

6     advise opposing counsel of the witnesses expected to testify the following day with an estimate

7     of the length of direct examination for each witness. Opposing counsel shall provide an estimate
8     of the length of cross-examination for each witness. Cooperation of counsel will ensure an
9
      efficient trial process. It is the responsibility of all counsel to arrange the appearance of
10
      witnesses in order to avoid delay.
11
                                     2. Opening statements, examination of witnesses and summation
12
      will be from the lectern only. Counsel should not spend an unreasonable amount of time writing
13
      out words or drawing charts or diagrams. Counsel may do so in advance and explain that the
14

15    item was prepared earlier to save time as ordered by the Court.

16                                   3. The Court will honor reasonable time estimates for opening and

17    closing presentations to the jury.
18
                                     4. In jury trials, where a party has more than one lawyer, only one
19
      may conduct the direct or cross-examination of a given witness.
20
                                     5. If a witness is on the stand when a recess is taken, it is
21
      counsel’s duty to have the witness back on the stand, ready to proceed, when the trial resumes.
22
                                     6. If a witness was on the stand at adjournment, it is counsel’s
23

24    duty to have the witness adjacent to, but not on, the stand, ready to proceed when the trial

25    resumes.

26                                   7. It is counsel’s duty to notify the Courtroom Deputy Clerk in
27    advance if any witness should be accommodated in an appropriate manner due to any disability
28
      or other physical need.

                                                            61
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1
                                     8. The Court attempts to accommodate physicians, scientists and
2
      all other professional witnesses and will, except in extraordinary circumstances, permit them to
3
      testify out of order. The Court may do the same with respect to non-party witnesses who have
4

5     work or family commitments. Counsel must anticipate any such possibility and discuss it with

6     opposing counsel. If there is objection to having a particular witness called out of order, counsel

7     shall confer with the Court in advance.
8                            c.      Objections and General Decorum
9
                                     1. When objecting, counsel must stand to state the objection and
10
      state only that counsel objects and the legal ground for objection. If counsel wishes to argue an
11
      objection further, counsel must ask for permission to do so; the Court may or may not grant a
12
      request for conference at sidebar. The Court strongly discourages the excessive use of sidebars
13
      because this is inefficient. Instead, evidentiary issues should be anticipated in advance of trial
14

15    and should be addressed through motions in limine and/or in connection with the rulings on

16    exhibits.

17                                   2. Counsel must not approach the Courtroom Deputy Clerk or the
18
      witness stand without permission. When permission is given, counsel shall return to the lectern
19
      when the task has been completed. Counsel must not engage in questioning a witness at the
20
      witness stand absent specific approval by the Court.
21
                                     3. Counsel must address all remarks to the Court. Counsel are not
22
      to address the Courtroom Deputy Clerk, the Reporter, persons in the audience, or opposing
23

24    counsel. If counsel wishes to speak with opposing counsel, counsel must ask permission to talk

25    off the record. Any request for the re-reading of questions or answers shall be addressed to the

26    Court, not to the court reporter.
27

28

                                                           62
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1
                                      4. Counsel must not make an offer of stipulation unless counsel
2
      already has conferred with opposing counsel and has reason to believe the stipulation will be
3
      acceptable.
4

5                                     5. On the first day of trial counsel shall advise the Court of any

6     commitments that may result in counsel’s absence or late arrival on any day of the trial.

7                             d.      Exhibits
8                                     1. Each counsel should keep counsel’s own list of exhibits and
9
      should keep track of when each has been admitted in evidence.
10
                                      2. Each counsel is responsible for any exhibits that counsel
11
      secures from the Courtroom Deputy Clerk and, during all recesses and noontime and afternoon
12
      adjournments, counsel must return all exhibits in counsel’s possession to the Courtroom Deputy
13
      Clerk.
14

15                                    3. An exhibit not previously marked should, at the time of its first

16    mention, be accompanied by a request that the Courtroom Deputy Clerk mark it for

17    identification. To save time, counsel must show a new exhibit to opposing counsel before it is
18
      mentioned in Court.
19
                                      4. Counsel should move exhibits into evidence as soon as
20
      admissibility is established, while they are freshly in the minds of all participants. If there is an
21
      objection, the motion to admit will be dealt with at the next available recess. In jury trials, no
22
      exhibit shall be read or displayed to the jury until admitted absent a pre-trial stipulation by
23

24    counsel or a ruling by the Court.

25                                    5. Absent unusual circumstances, counsel must not ask witnesses

26    to draw charts or diagrams nor ask the Court’s permission for a witness to do so. If counsel
27    wishes to question a witness in connection with graphic aids, the material must be fully prepared
28
      before the court session starts.

                                                             63
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1
                            e.       Depositions
2
                                     1. All depositions that will be used in the trial, either as evidence
3
      or for impeachment, must be signed and lodged with the Courtroom Deputy Clerk on the first
4

5     day of trial or such earlier date as the Court may order. For any deposition in which counsel is

6     interested, counsel should check with the Courtroom Deputy Clerk to confirm that the

7     Courtroom Deputy Clerk has the transcript and that the transcript is properly signed.
8                                    2. In using depositions for impeachment, counsel shall first
9
      announce both the beginning and ending page and line references of the passage desired to be
10
      read, and allow opposing counsel an opportunity to state any objection. If an objection is made,
11
      counsel shall await a ruling before proceeding. In addition, counsel who has not requested the
12
      reading shall advise the Court whether counsel requests a ruling as to any objection(s) made on
13
      the record or reserved during the deposition testimony at issue. In reading deposition testimony,
14

15    counsel shall use one of the following procedures:

16                                          a. If counsel wishes to read the questions and answers as

17    alleged impeachment and ask the witness no further questions on that subject, counsel may
18
      merely read the relevant portions of the deposition into the record.
19
                                            b. If counsel wishes to ask the witness further questions on
20
      the subject matter (this does not include a question whether the witness’s testimony has
21
      changed between deposition and trial) the deposition is placed in front of the witness and the
22
      witness is told to read silently the pages and lines involved. Then counsel may either ask the
23

24    witness further questions on the matter and thereafter read the quotations or read the

25    quotations and thereafter ask further questions. Counsel should have an extra copy of the

26    deposition for this purpose.
27

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1
                                        3. Where a witness is absent and the witness’ testimony is offered
2
      by deposition, please observe the following procedure. A reader should occupy the witness
3
      chair and read the testimony of the witness while the examining lawyer asks the questions.
4

5                             f.        Advance Notice of Evidentiary or Difficult Questions

6                                       1. If during trial, counsel has reason to anticipate that a difficult

7     and unexpected question of law or evidence will raise legal argument, requiring research and/or
8     briefing, counsel must give the Court advance notice. Counsel are directed to notify the
9
      Courtroom Deputy Clerk at the day’s adjournment if an unexpected legal issue arises that could
10
      not have been foreseen and addressed by a motion in limine (see Fed. R. Evid. 103). To the
11
      maximum extent possible, such matters shall be taken outside normal trial hours (e.g., recess,
12
      before or after the trial day).
13

14
      IT IS SO ORDERED.
15
                                                                _________________________________
16                                                              JOHN A. KRONSTADT
                                                                UNITED STATES DISTRICT JUDGE
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1
                                        EXHIBIT E
2
                     STANDING PROTECTIVE ORDER FOR PATENT CASES
3                        ASSIGNED TO JUDGE JOHN A. KRONSTADT
4

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8                                    UNITED STATES DISTRICT COURT
9
                                    CENTRAL DISTRICT OF CALIFORNIA
10

11    Plaintiff’s Name(s),                             )   Case No.: _____________ JAK ( x)
                                                       )
12                           Plaintiff(s),             )   STANDING PROTECTIVE ORDER FOR
      vs.                                              )   PATENT CASES ASSIGNED TO JUDGE
13                                                     )   JOHN A. KRONSTADT
      Defendant’s Name(s),                             )
14
                                                       )
15                           Defendant(s).             )
                                                       )
16                                                     )

17
             NOTE: SUBMISSION OF A DOCUMENT APPEARING TO BE THIS FORM SHALL BE
18

19    A CERTIFICATION THAT IT IS THIS FORM UNLESS CLEARLY NOTED OTHERWISE IN

20    THE TITLE ABOVE WITH THE WORD “(MODIFIED).” COUNSEL SHALL ADHERE TO THE

21    ASSIGNED MAGISTRATE JUDGE’S REQUIREMENTS WITH RESPONSE TO THE
22    PREPARATION OF PROTECTIVE ORDERS FOR ALL NON-PATENT CASES.
23
             1.              PURPOSE AND LIMITS OF THIS ORDER
24
             Discovery in this action is likely to involve confidential, proprietary or private information
25
      requiring special protection from public disclosure and from use for any purpose other than this
26
      litigation. Thus, the Court enters this Protective Order. This Order does not confer blanket
27
      protections on all disclosures or responses to discovery, and the protection it gives from public
28

                                                            67
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1
      disclosure and use extends only to the specific material entitled to confidential treatment under
2
      the applicable legal principles. This Order does not automatically authorize the filing under seal
3
      of material designated under this Order. Instead, the parties must comply with Local Rule 79-5.1
4

5     and this Order if they seek to file anything under seal. This Order does not govern the use at

6     trial of material designated under this Order.

7             2.              DESIGNATING PROTECTED MATERIAL
8             2.1             Over-Designation Prohibited. Any party or non-party who designates
9
      information or items for protection under this Order as “CONFIDENTIAL,” “HIGHLY
10
      CONFIDENTIAL – ATTORNEY EYES ONLY,” or “HIGHLY CONFIDENTIAL – SOURCE CODE”
11
      (a “designator”) must only designate specific material that qualifies under the appropriate
12
      standards. To the extent practicable, only those parts of documents, items or oral or written
13
      communications that require protection shall be designated. Designations with a higher
14

15    confidentiality level when a lower level would suffice are prohibited. Mass, indiscriminate, or

16    routinized designations are prohibited. Unjustified designations expose the designator to

17    sanctions, including the Court’s striking all confidentiality designations made by that designator.
18
      Designation under this Order is allowed only if the designation is necessary to protect material
19
      that, if disclosed to persons not authorized to view it, would cause competitive or other
20
      recognized harm. Material may not be designated if it has been made public, or if designation is
21
      otherwise unnecessary to protect a secrecy interest. If a designator learns that information or
22
      items that it designated for protection do not qualify for protection at all or do not qualify for the
23

24    level of protection initially asserted, that designator must promptly notify all parties that it is

25    withdrawing the mistaken designation.

26            2.2             Manner and Timing of Designations. Designation under this Order
27    requires the designator to affix the applicable legend (“CONFIDENTIAL,” “HIGHLY
28
      CONFIDENTIAL – ATTORNEY EYES ONLY,” or “HIGHLY CONFIDENTIAL – SOURCE

                                                             68
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1
      CODE”) to each page that contains protected material. For testimony given in deposition or
2
      other proceeding, the designator shall specify all protected testimony and the level of protection
3
      being asserted. It may make that designation during the deposition or proceeding, or may
4

5     invoke, on the record or by written notice to all parties on or before the next business day, a

6     right to have up to 21 days from the deposition or proceeding to make its designation.

7            2.2.1           A party or non-party that makes original documents or materials available
8     for inspection need not designate them for protection until after the inspecting party has
9
      identified which material it would like copied and produced. During the inspection and before the
10
      designation, all material shall be treated as HIGHLY CONFIDENTIAL – ATTORNEY EYES
11
      ONLY. After the inspecting party has identified the documents it wants copied and produced,
12
      the producing party must designate the documents, or portions thereof, that qualify for
13
      protection under this Order.
14

15           2.2.2           Parties shall give advance notice if they expect a deposition or other

16    proceeding to include designated material so that the other parties can ensure that only

17    authorized individuals are present at those proceedings when such material is disclosed or
18
      used. The use of a document as an exhibit at a deposition shall not in any way affect its
19
      designation. Transcripts containing designated material shall have a legend on the title page
20
      noting the presence of designated material, and the title page shall be followed by a list of all
21
      pages (including line numbers as appropriate) that have been designated, and the level of
22
      protection being asserted. The designator shall inform the court reporter of these requirements.
23

24    Any transcript that is prepared before the expiration of the 21-day period for designation shall be

25    treated during that period as if it had been designated HIGHLY CONFIDENTIAL – ATTORNEY

26    EYES ONLY unless otherwise agreed. After the expiration of the 21-day period, the transcript
27    shall be treated only as actually designated.
28

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1
              2.3           Inadvertent Failures to Designate. An inadvertent failure to designate
2
      does not, standing alone, waive protection under this Order. Upon timely assertion or correction
3
      of a designation, all recipients must make reasonable efforts to ensure that the material is
4

5     treated according to this Order.

6             3.            CHALLENGING CONFIDENTIALITY DESIGNATIONS

7             All challenges to confidentiality designations shall proceed under Local Rule 37-1
8     through Local Rule 37-4.
9
              4.            ACCESS TO DESIGNATED MATERIAL
10
              4.1           Basic Principles. A receiving party may use designated material only for
11
      this litigation. Designated material may be disclosed only to the categories of persons and under
12
      the conditions described in this Order.
13
              4.2           Disclosure of CONFIDENTIAL Material Without Further Approval.
14

15    Unless otherwise ordered by the Court or permitted in writing by the designator, a receiving

16    party may disclose any material designated CONFIDENTIAL only to:

17            4.2.1         The receiving party’s outside counsel of record in this action and
18
      employees of outside counsel of record to whom disclosure is reasonably necessary;
19
              4.2.2         The officers, directors, and employees of the receiving party to whom
20
      disclosure is reasonably necessary, and who have signed the Agreement to Be Bound (Exhibit
21
      E-1);
22
              4.2.3         Experts retained by the receiving party’s outside counsel of record to
23

24    whom disclosure is reasonably necessary, and who have signed the Agreement to Be Bound

25    (Exhibit E-1);

26            4.2.4         The Court and its personnel;
27

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1
             4.2.5          Outside court reporters and their staff, professional jury or trial
2
      consultants, and professional vendors to whom disclosure is reasonably necessary, and who
3
      have signed the Agreement to Be Bound (Exhibit E-1);
4

5            4.2.6          During their depositions, witnesses in the action to whom disclosure is

6     reasonably necessary and who have signed the Agreement to Be Bound (Exhibit E-1); and

7            4.2.7          The author or recipient of a document containing the material, or a
8     custodian or other person who otherwise possessed or knew the information.
9
             4.3            Disclosure of HIGHLY CONFIDENTIAL – ATTORNEY EYES ONLY
10
      and HIGHLY CONFIDENTIAL – SOURCE CODE Material Without Further Approval. Unless
11
      permitted in writing by the designator, a receiving party may disclose material designated
12
      HIGHLY CONFIDENTIAL – ATTORNEY EYES ONLY or HIGHLY CONFIDENTIAL – SOURCE
13
      CODE without further approval only to:
14

15           4.3.1          The receiving party’s outside counsel of record in this action and

16    employees of outside counsel of record to whom it is reasonably necessary to disclose the

17    information;
18
             4.3.2          The Court and its personnel;
19
             4.3.3          Outside court reporters and their staff, professional jury or trial
20
      consultants, and professional vendors to whom disclosure is reasonably necessary, and who
21
      have signed the Agreement to Be Bound (Exhibit E-1); and
22
             4.3.4          The author or recipient of a document containing the material, or a
23

24    custodian or other person who otherwise possessed or knew the information.

25           4.4            Procedures for Approving or Objecting to Disclosure of HIGHLY

26    CONFIDENTIAL – ATTORNEY EYES ONLY or HIGHLY CONFIDENTIAL – SOURCE CODE
27    Material to In-House Counsel or Experts. Unless agreed to in writing by the designator:
28

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1
              4.4.1           A party seeking to disclose to in-house counsel any material designated
2
      HIGHLY CONFIDENTIAL – ATTORNEY EYES ONLY must first make a written request to the
3
      designator providing the full name of the in-house counsel, the city and state of such counsel’s
4

5     residence, and such counsel’s current and reasonably foreseeable future primary job duties and

6     responsibilities in sufficient detail to determine present or potential involvement in any

7     competitive decision-making. In-house counsel are not authorized to receive material
8     designated HIGHLY CONFIDENTIAL – SOURCE CODE.
9
              4.4.2           A party seeking to disclose to an expert retained by outside counsel of
10
      record any information or item that has been designated HIGHLY CONFIDENTIAL –
11
      ATTORNEY EYES ONLY or HIGHLY CONFIDENTIAL – SOURCE CODE must first make a
12
      written request to the designator that (1) identifies the general categories of HIGHLY
13
      CONFIDENTIAL – ATTORNEY EYES ONLY or HIGHLY CONFIDENTIAL – SOURCE CODE
14

15    information that the receiving party seeks permission to disclose to the expert, (2) sets forth the

16    full name of the expert and the city and state of his or her primary residence, (3) attaches a copy

17    of the expert’s current resume, (4) identifies the expert’s current employer(s), (5) identifies each
18
      person or entity from whom the expert has received compensation or funding for work in his or
19
      her areas of expertise (including in connection with litigation) in the past five years, and (6)
20
      identifies (by name and number of the case, filing date, and location of court) any litigation
21
      where the expert has offered expert testimony, including by declaration, report or testimony at
22
      deposition or trial, in the past five years. If the expert believes any of this information at (4) - (6)
23

24    is subject to a confidentiality obligation to a third party, then the expert should provide whatever

25    information the expert believes can be disclosed without violating any confidentiality

26    agreements, and the party seeking to disclose the information to the expert shall be available to
27    meet and confer with the designator regarding any such confidentiality obligations.
28

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1
             4.4.3           A party that makes a request and provides the information specified in
2
      paragraphs 4.4.1 or 4.4.2 may disclose the designated material to the identified in-house
3
      counsel or expert unless, within seven days of delivering the request, the party receives a
4

5     written objection from the designator providing detailed grounds for the objection.

6            4.4.4           All challenges to objections from the designator shall proceed under Local

7     Rule 37-1 through Local Rule 37-4.
8            5.              SOURCE CODE
9
             5.1             Designation of Source Code. If production of source code is necessary,
10
      a party may designate it as HIGHLY CONFIDENTIAL – SOURCE CODE if it is, or includes,
11
      confidential, proprietary, or trade secret source code.
12
             5.2             Location and Supervision of Inspection. Any HIGHLY CONFIDENTIAL
13
      – SOURCE CODE produced in discovery shall be made available for inspection, in a format
14

15    allowing it to be reasonably reviewed and searched, during normal business hours or at other

16    mutually agreeable times, at an office of the designating party’s counsel or another mutually

17    agreeable location. The source code shall be made available for inspection on a secured
18
      computer in a secured room, and the inspecting party shall not copy, remove or otherwise
19
      transfer any portion of the source code onto any recordable media or recordable device. The
20
      designator may visually monitor the activities of the inspecting party’s representatives during
21
      any source code review, but only to ensure that there is no unauthorized recording, copying or
22
      transmission of the source code.
23

24           5.3             Paper Copies of Source Code Excerpts. The inspecting party may

25    request paper copies of limited portions of source code that are reasonably necessary for the

26    preparation of court filings, pleadings, expert reports, other papers or for deposition or trial. The
27    designator shall provide all such source code in paper form, including Bates numbers and the
28
      label “HIGHLY CONFIDENTIAL – SOURCE CODE.”

                                                            73
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1
                5.4          Access Record. The inspecting party shall maintain a record of any
2
      individual who has inspected any portion of the source code in electronic or paper form, and
3
      shall maintain all paper copies of any printed portions of the source code in a secured, locked
4

5     area. The inspecting party shall not convert any of the information contained in the paper copies

6     into any electronic format other than for the preparation of a pleading, exhibit, expert report,

7     discovery document, deposition transcript, or other Court document. Any paper copies used
8     during a deposition shall be retrieved at the end of each day and must not be left with a court
9
      reporter or any other unauthorized individual.
10
                6.           PROTECTED MATERIAL SUBPOENAED OR ORDERED PRODUCED
11
      IN OTHER LITIGATION
12
                6.1          Subpoenas and Court Orders. This Order in no way excuses non-
13
      compliance with a lawful subpoena or court order. The purpose of the duties described in this
14

15    section is to alert the interested parties to the existence of this Order and to give the designator

16    an opportunity to protect its confidentiality interests in the court where the subpoena or order

17    issued.
18
                6.2          Notification Requirement. If a party is served with a subpoena or a court
19
      order issued in other litigation that compels disclosure of any information or items received by
20
      that party in this action and designated in this action as CONFIDENTIAL, HIGHLY
21
      CONFIDENTIAL – ATTORNEY EYES ONLY, or HIGHLY CONFIDENTIAL – SOURCE CODE,
22
      that party must do the following.
23

24              6.2.1        Promptly notify the designator in writing. Such notification shall include a

25    copy of the subpoena or court order.

26              6.2.2        Promptly notify in writing the party who caused the subpoena or order to
27    issue in the other litigation that some or all of the material covered by the subpoena or order is
28
      subject to this Order. Such notification shall include a copy of this Order.

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1
              6.2.3           Cooperate with all reasonable procedures sought by the designator
2
      whose material may be affected.
3
              6.3             Wait For Resolution of Protective Order. If the designator promptly
4

5     seeks a protective order, the party served with the subpoena or court order shall not produce

6     any information designated in this action as CONFIDENTIAL, HIGHLY CONFIDENTIAL –

7     ATTORNEY EYES ONLY or HIGHLY CONFIDENTIAL – SOURCE CODE before a
8     determination by the court where the subpoena or order issued, unless the party has obtained
9
      the designator’s permission. The designator shall bear the burden and expense of seeking
10
      protection of its confidential material in that court.
11
              7.              UNAUTHORIZED DISCLOSURE OF DESIGNATED MATERIAL
12
              If a receiving party learns that, by inadvertence or otherwise, it has disclosed designated
13
      material to any person or in any circumstance not authorized under this Order, it must
14

15    immediately (1) notify in writing the designator of the unauthorized disclosures, (2) use its best

16    efforts to retrieve all unauthorized copies of the designated material, (3) inform the person or

17    persons to whom unauthorized disclosures were made of all the terms of this Order, and (4) use
18
      reasonable efforts to have such person or persons execute the Agreement to Be Bound (Exhibit
19
      E-1).
20
              8.              INADVERTENT PRODUCTION OF PRIVILEGED OR OTHERWISE
21
      PROTECTED MATERIAL
22
              When a producing party gives notice that certain inadvertently produced material is
23

24    subject to a claim of privilege or other protection, the obligations of the receiving parties are

25    those set forth in Fed. R. Civ. P. 26(b)(5)(B). This provision is not intended to modify whatever

26    procedure may be established in an e-discovery order that provides for production without prior
27    privilege review pursuant to Fed. R. Evid. 502(d) and (e).
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1
             9.               FILING UNDER SEAL
2
             Without written permission from the designator or a Court order, a party may not file in
3
      the public record in this action any designated material. A party seeking to file under seal any
4

5     designated material must comply with Local Rule 79-5 and this Court’s Standing Order with

6     respect to the filing of under seal documents. Filings may be made under seal only pursuant to

7     a court order authorizing the sealing of the specific material at issue. The fact that a document
8     has been designated under this Order is insufficient to justify filing under seal. Instead, parties
9
      must explain the basis for confidentiality of each document sought to be filed under seal.
10
      Because a party other than the designator will often be seeking to file designated material,
11
      cooperation between the parties in preparing, and in reducing the number and extent of,
12
      requests for under seal filing is essential. Accordingly, counsel are ordered to meet and confer
13
      in person or by telephone at least seven (7) calendar days prior to the filing of an application
14

15    wherein the basis for the sealing is that it has been deemed confidential by the other party. Not

16    later than two (2) calendar days after the meet and confer process, the opposing party shall

17    confirm whether such information shall be designated as confidential or whether it can be made
18
      available to the public. Such an application shall contain the dates and method by which the
19
      parties met and conferred otherwise it will be denied without prejudice to an amended
20
      application being filed after counsel have completed this process. If a receiving party’s request
21
      to file designated material under seal pursuant to Local Rule 79-5.1 is denied by the Court, then
22
      the receiving party may file the material in the public record unless (1) the designator seeks
23

24    reconsideration within four (4) days of the denial, or (2) as otherwise instructed by the Court.

25    See supra 11., p. 18.

26           10.              FINAL DISPOSITION
27           Within 60 days after the final disposition of this action, each party shall return all
28
      designated material to the designator or destroy such material, including all copies, abstracts,

                                                            76
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1
      compilations, summaries and any other format reproducing or capturing any designated
2
      material. The receiving party must submit a written certification to the designator by the 60-day
3
      deadline that (1) identifies (by category, where appropriate) all the designated material that was
4

5     returned or destroyed, and (2) affirms that the receiving party has not retained any copies,

6     abstracts, compilations, summaries or any other format reproducing or capturing any of the

7     designated material. This provision shall not prevent counsel from retaining an archival copy of
8     all pleadings, motion papers, trial, deposition and hearing transcripts, legal memoranda,
9
      correspondence, deposition and trial exhibits, expert reports, attorney work product, and
10
      consultant and expert work product, even if such materials contain designated material. Any
11
      such archival copies remain subject to this Order.
12

13
      IT IS SO ORDERED.
14

15    Dated:                                _________________________________
                                            [NAME]
16                                          UNITED STATES DISTRICT/MAGISTRATE JUDGE

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1
                                                   EXHIBIT E-1
2
                                              AGREEMENT TO BE BOUND
3
               I, _____________________________ [print or type full name], of _________________
4

5     [print or type full address], declare under penalty of perjury that I have read in its entirety and

6     understand the Protective Order that was issued by the United States District Court for the

7     Central District of California on _______ [date] in the case of ___________ [insert formal
8     name of the case and the number and initials assigned to it by the court]. I agree to
9
      comply with and to be bound by all the terms of this Protective Order, and I understand and
10
      acknowledge that failure to so comply could expose me to sanctions and punishment for
11
      contempt. I solemnly promise that I will not disclose in any manner any information or item that
12
      is subject to this Protective Order to any person or entity except in strict compliance with this
13
      Order.
14

15             I further agree to submit to the jurisdiction of the United States District Court for the

16    Central District of California for the purpose of enforcing this Order, even if such enforcement

17    proceedings occur after termination of this action.
18
               I hereby appoint __________________________ [print or type full name] of
19
      _______________________________________ [print or type full address and telephone
20
      number] as my California agent for service of process in connection with this action or any
21
      proceedings related to enforcement of this Order.
22
               Date: ___________________________
23
               City and State where sworn and signed: _________________________________
24

25             Printed name: ____________________
26             [printed name]
27             Signature: _______________________
               [signature]
28

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1
                                           EXHIBIT F
2

3                            FORMAT FOR EVIDENTIARY OBJECTIONS
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1
                            EXHIBIT F: FORMAT FOR EVIDENTIARY OBJECTIONS
2

3
              Declaration/Testimony of _______          Objection                Ruling
4

5

6

7     Example 1: Entire Declaration of John
8     Smith
9

10
      Start of Deposition…………............………
11
      …………..[1. Language subject to objection]   1. E.g., Hearsay, cite.   1. Sustained /
12                                                                            Overruled
      ……………………..…………………………
13

14    …………………………………………………..

15    …………………………………………………..                                                2. Sustained /
                                                 2. E.g., Lacks               Overruled
16    ……………………………………….[2.                           foundation, cite.

17    Language subject to objection]
18
      …….……………………………………………..
19
      …………………………………………………..
20
      …………………………………………………..
21
      …………………………………………………..                                                3. Sustained /
22                                               3. E.g., Hearsay, cite.      Overruled
      [3. Language subject to objection]
23

24    ……………………………….………………

25    …………………………………………………..

26    …………………………………………………..
27            End of Declaration.
28

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1
                                        EXHIBIT G
2
      FORMAT OF SUMMARY CHART TO BE ATTACHED TO MOTIONS FOR ATTORNEY’S FEES
3

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1
                EXHIBIT G: FORMAT FOR ATTORNEY’S FEES SUMMARY CHARTS
2
                                              Table 1
3
                                     Task 1: Motion to Dismiss
4                Attorney             Rate              Hours             Fee
                                                  Total hours spent
5                Attorney 1
                                   $XXX/hour       by Attorney 1 on      $XXX
                 (position)
6                                                       Task 1
                                                  Total hours spent
7                Attorney 2
                                   $XXX/hour       by Attorney 2 on      $XXX
                 (position)
8                                                       Task 1
                    Fee Request for Task 1           Task 1 Sum     Task 1 Sum
9                             Task 2: Motion for Summary Judgment
10               Attorney             Rate              Hours             Fee
                                                  Total hours spent
11               Attorney 1
                                   $XXX/hour       by Attorney 1 on      $XXX
                 (position)
                                                        Task 2
12
                                                  Total hours spent
                 Attorney 2
13                                 $XXX/hour       by Attorney 2 on      $XXX
                 (position)
                                                        Task 2
14
                    Fee Request for Task 2           Task 2 Sum       Task 2 Sum
15

16                                           Table 2
              Attorney       Rate            HOURS BY TASK             TOTALS
17            Attorney 1               Task         Total Hours   Hours:
              (position)                            Spent by      Amount:$
18                                                  Attorney on
                                                    Task
19
                                       i.e., Motion
                                       to Dismiss
20
                                       Discovery
21                                     Deposition
                                       Task 4
22                                     Task 5 (etc.)
              Attorney 2               Motion for                 Hours:
23            (position)               Summary                    Amount:$
                                       Judgment
24                                     Travel
                                       Task 3
25                                     Task 4
                                       Task 5 (etc.)
26
              Total                                               Hours:
                                                                  Amount: $
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      In addition to the summary tables, the party requesting fees shall submit, to the Chambers’
2     email at jak_chambers@cacd.uscourts.gov within 24 hours of filing, an Excel spreadsheet that
      contains all time entries for which fees are sought. Those time entries should be categorized by
3
      attorney and task in a manner that corresponds with the summary tables provided. The
4     information in Table 1 and Table 2 shall be separated in separate worksheets within the Excel
      spreadsheet.
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